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EXHIBIT 28
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
WACO DIVISION

SONOS, INC.,

Plaintiff, Civil Action No.

6:20-cv-00881-ADA

GOOGLE, LLC,

)

)

)

)

)

vs. )
)

)

)
Defendant. )
)

VIDEOCONFERENCE DEPOSITION OF CHRISTOS KYRIAKAKIS

Friday, June 11, 2021

Volume I

Reported by:
KATHLEEN E. BARNEY
CSR No. 5698

Job No. 4626386
PAGES 1 - 202

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5 WACO DIVISION 2 WITNESS EXAMINATION
4 3 CHRISTOS KYRIAKAKIS
4 Volume I
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5 NOS ING: ) 6 BY MR. PAK 8
Plaintiff, +) 7
7 yCivil Action No. 8
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8 GOOGLE. LLC ) 10 EXHIBITS
9 ; , ) 11 NUMBER DESCRIPTION PAGE
Defendant. ) 12 Exhibit 1 Audyssey manual 21
10 ) 13
Mi . 14 Exhibit 2 Slides from a computer networks 33
12 Videoconference deposition of CHRISTOS 15 course
13 KYRIAKAKIS, Volume I, taken on behalf of Plaintiff,
14 beginning at 9:02 a.m. and ending at 3:10 p.m. on 16
15 Friday, June 11, 2021, before KATHLEEN E. BARNEY, | 17 Exhibit3 Excerpt from the Microsoft 45
16 Certified Shorthand Reporter No. 5698. 18 Computer Dictionary, Fifth
i 19 Edition
19 20
20 21 Exhibit4 Publication "RMI System: Internet 61
21 22 Meets the Future Home Theater"
: >
24 24 Exhibit 5 Patent No. 8,705,764 69
25 25
Page 2 Page 4
1 APPEARANCES: 1
2 2 Exhibit6 Publication, "High Quality 716
3 For Plaintiff: 3 Multichannel Audio Over the
4 4 Internet"
5 LEE SULLIVAN SHEA & SMITH 5
6 BY: JAE PAK 6 Exhibit 7 Paper titled "HYDRA -High 83
7 GEORGE LEE 7 Resolution Live Streaming"
8 Attorneys at Law 8
9 656 West Randolph Street . 9 Exhibit 8 Publication, "Distributed 87
10 Chicago, Illinois 60661 10 Immersive Performance: Enabling
11 Pak@ls3ip.com 11 Technologies for and Analyses of
12 12 Remote Performance and
13 For Defendant: 13 Collaboration"
14 14
1S QUINN EMANUEL URQUHART & SULLIVAN, LLP| 15 Exhibit 9 Declaration of Dr. Kyriakakis 96
16 BY: MARC KAPLAN 16
17. Attorney at Law 17 Exhibit 10 '206 patent 119
18 865 Figueroa Street 18
19 Los Angeles, California 90071 19 Exhibit 11 Appendix L to Dr. Schmidt's 138
20  marckaplan@quinnemanuel.com 20 declaration
21 21
22 22 Exhibit 12 Appendix N of Dr. Schmidt's 156
23 Videographer: 23 declaration
24 KIMBERLEE DECKER 24
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1 Exhibit 13 Dua Patent Application 159 | 1 from Lee Sullivan Shea & Smith.
2 Publication 2 MR. KAPLAN: This is Marc Kaplan from Quinn
3 3 Emanuel Urquhart & Sullivan for Google and the
4 Exhibit 14 '033 patent 196 4 witness.
5 5 MR. LEE: Good morning. This is George Lee 09:03:52
6 6 for plaintiff Sonos. I'm also with the firm of Lee
7 7 Sullivan Shea & Smith in Chicago.
8 8 THE VIDEOGRAPHER: Thank you. Will the court
9 9 reporter please swear in the witness.
10 10
1] i CHRISTOS KYRIAKAKIS,
12 12 having been administered an oath, was examined and
13 13 testified as follows:
14 14
15 15 EXAMINATION
16 16 BY MR. PAK:
17 17. Q Dr. Kyriakakis, could you please state and
18 18 spell your name for the record.
19 19 A Sure. First name is -- legal first name is
20 20 Christos, but I go by Chris, last name is 09:04:34
2] 21 K-Y-R+-A-K-A-K-S.
22 22 Q Is it okay if] call you Dr. K throughout
23 23 this deposition?
24 24 A Yes, please do.
25 25 Q Have you been deposed before? 09:04:48
Page 6 Page 8
i Friday, June 11, 2021 1 A Ihave.
2 9:02 a.m. 2 Q How many times have you been deposed? Just a
3 3 ballpark is fine.
4 THE VIDEOGRAPHER: Good morning. We are on 4 A Two other times.
5 the record at 9:02 a.m. on June 11, 2021. 09:02:30 5 Q How many times have you been deposed asan 09:04:57
6 All participants are appearing remotely. 6 expert witness? Were you an expert witness in both
7 Audio and video recording will continue to take 7 of those cases?
8 place unless all parties agree to go off the record. A Yes, I was.
9 This is Media Unit 1 of the recorded 9 Q And these are patent cases, correct?
10 deposition of Christos Kyriakakis taken by counsel 09:02:49 10. A Correct. 09:05:16
Il for the plaintiff in the matter of Sonos, Inc., 11 Q When was the last time you were deposed?
12 versus Google, LLC, filed in the U.S. District 12. A It was -- I think it was 2018. I don't have
13 Court, Western District of Texas, Waco Division, 13 the exact date, but I think it was 2018.
14 case number 6:20-CV-00881-ADA. 14 Q Sure. Do you remember what case that was?
15 My name is Kimberlee Decker from Veritext 09:03:12 15 A_ It was -- so it was two in that same year. 09:05:34
16 Legal Solutions. I'm the videographer. The court 16 So one of them was -- I was working on behalf of
17 reporter is Kathy Barney. I'm not related to any 17 Apple, which was an ITC case. Actually, initially
18 party m this action, nor am J financially 18 the case involved Apple and Samsung as
19 interested in the outcome. 19 co-defendants. So that was one case. And the other
20 Counsel and all present will now state their 09:03:26 20 case was for Apple, a separate casc. 09:06:05
21 appcarances and affiliations for the record. If 21 Q Okay. And so we're on the same page, I want
22 there are any objections to procecding, please state 22 to run through some general guidelines. So just
23 them at the time of your appearance, beginning with 23 bear with me here.
24 the noticing attorney. 24 T'll ask you questions and you must give
25 MR. PAK: This is Jae Pak, counsel for Sonos, 09:03:33 25 truthful answers. Your counsel may object to 09:06:20
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I questions, but unless your counsel instructs you not 1 A Probably two other times. It was different
2 to answer, you still must answer despite the 2 attorneys. Different matters.
3 objection. 3. Q What was the nature of your engagement with
4 Do you understand? 4 Quinn Emanuel?
5 A Ido. 09:06:30 5 MR. KAPLAN: Object to form. 09:08:33
6 Q And if you don't understand a question or 6 THE WITNESS: It was similar. They were
7 need clarification, please ask. Otherwise I'll 7 patent cases and I was an expert witness for their
8 assume that you understand the question. 8 client.
9 We'll plan to take a break every hour or so. 9 BY MR. PAK:
10 If you need a break outside of that schedule, just 09:06:38 10 Q Do you recall what cases? 09:08:43
11 let me know and I'll accommodate the request. The 11. A_ Lbelieve onc was Blitzsafe versus Daimicr
12 only thing Task is, you know, to finish any pending 12 Benz, Mercedes. And the other one escapes me
13 question before we go on break. 13 because I remember the cases, but not necessarily
14 And the court reporter will be transcribing 14 all the affiliations.
15 our discussion today, so I need you to give verbal 09:06:50 15 THE VIDEOGRAPHER: You're speaking a little 09:09:26
16 answers as opposed to head nods or the like. 16 low.
17 Understood? 17 THE WITNESS: Interesting. Okay. Is that
18 A Yes. 18 better?
19 Q Okay. T'll slow down here now. 19 BY MR. PAK:
20 When did you begin working on this case 09:07:02 20 Q Have you provided expert opinions on behalf 09:09:44
21 between Sonos and Google? 21 of Google before?
22 A Oh, I don't know the exact date. It was a 22 A Thave not.
23 few months ago, 23 Q Have you offered opinions with respect to any
24 Q Okay. So it was sometime this year? 24 Google products?
25 A Yes. 09:07:16 25 A No. 09:09:55
Page 10 Page 12
1 Q Did you sign an engagement letter? 1 Q Have you offered opinions with respect to any
2 A Idid. 2 mobile apps that can be installed on your phone or
3. Q And when did you sign the engagement letter, 3 tablet?
4 do you remember? 4 A No.
5 A Shortly after I talked to the attorneys andI 09:07:29 5 Q Have you used any Google audio products 09:10:07
6 was told they wanted to retain me. 1 don't have the 6 before?
7 exact date. I think it was a few months ago. 7 A Shave -- yes, I have used them. I don't own
8 Q Few months as in maybe April of this year or 8 them, but I have used them.
9 sometime before? Q What products have you used?
10 A I'mpretty sure it was before. 09:07:45 10 <A It was a Google speaker. 09:10:22
11 Q Okay. 11 Q Do you know what speaker it was?
12 A {don't have the exact date. 12 A I think it's called Google Home.
13. Q No, Ll understand. 13. Q Did you use any specific feature of Google
14 Who is that engagement between? Is that 14 Home?
1S between you and Google or Google's counsel or 09:07:57 1S A_ I was interested in evaluating the voice 09:10:45
16 someone else? 16 performance, the voice recognition performance,
17 A_ Itis -- I believe it's between me and 17 especially how it performs in noisy environments.
18 Google's counsel. 18 Q So you've experimented with Google Assistant;
19 Q And Google's counsel being Quinn Emanuel; is 19 is that correct?
20 that correct? 20 MR. KAPLAN: Object to form. 09:11:12
21 A Correct. 21 THE WITNESS: In the context of that product,
22 Q Have you worked with Quinn Emanuel before? 22 yes.
23. A Thave. 23 BY MR. PAK:
24 Q How many times have you worked with Quinn 24 Q Okay. Have you used the Google Home app
25 Emanuel? 09:08:18 25 before? 09:11:24
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1 A No. ] I mean, that's kind of what I do on a regular
2 Q So how did you set up the Google Home 2 basis just to understand what is going on and who is
3 product? 3 doing what acoustically in rooms.
4 A That's a good question. It's been a while. 4 BY MR. PAK:
5 Okay. I guess | used it to set it up. I 09:11:40 5 Q So have you evaluated these products for 09:15:04
6 thought you were asking if I used it to interact 6 other reasons? Other than acoustic performance,
7 with it. 7 have you evaluated these products for some other
8 Q Okay. Have you used any Google Pixel device 8 reason?
9 before? 9 A No.
10 A No. 09:11:53 10 Q And just for curiosity, I guess, which 09:15:15
11 Q Have you used any Sonos products? 11 product has the best acoustic performance, in your
12) A Yes. 12 opinion?
13. Q What Sonos products have you uscd before? 13. A_ I'm going to get in big trouble. I'm not
14 A Sonos Play:1. And Sonos Subwoofer. 14 going to answer that. A lot of them it's an
15 Q Have you used any other Sonos products 09:12:17 15 objective measurement, but a lot of it is very 09:15:35
16 before? 16 subjective. So I'm probably going to stay away from
17. A No. 17 that one.
18 Q Do you own a Sonos Play:1 or Sonos Sub? 18 Q That's fair.
19 A Yes, Ido. 19 I want to talk about your professional
20 Q When did you first purchase the Play:1 and 09:12:33 20 experience. Do you have any computer programming 09:15:46
21 the Sonos Sub? 21 experience?
22 A Two years ago approximately. 22 A Yes.
23. Q Why did you purchase the Play:1 and Sonos 23. Q Do you remember the last time you coded or
24 Sub? 24 programmed something?
25 A As part of my work and research, I have,I 09:12:59 25. A Two days ago. 09:15:59
Page 14 Page 16
1 would say, an unusually large collection of speaker 1 Q Got it.
2 products and I've purchased them to evaluate their 2 Have you taught any computer science courses
3 acoustic performance, compare them to others, and so 3 before?
4 on. 4 A No.
5 Q Do you own more than one Play:1 and more than 09:13:16 5 Q Have you taught any network courses before? 09:16:09
6 one Sonos Sub? 6 A Network specific, no.
7 A Thave three Play:1s and one Sonos Sub. 7 I should mention I have computer science
& Q Have you ever stereo-paired two Play:|s 8 students in my courses, but they're not specific
9 together? 9 under the computer science department.
10 A Yes. Yes, Ihave. 09:13:47 10 Q Gotit. But you haven't taught any computer 09:16:24
11 Q And have you compared that to other -- when 11 science courses. Did you say you haven't taught any
12 you say others, you're talking about other audio 12 network courses; is that correct?
13 products? 13. A That's correct.
14 A_ 1 guess what do you mean by "compared"? 14 Q Do you have any networking experience?
15 Q Yeah. So you said you evaluated the acoustic 09:14:09 15 A Yes. Quite a bit, especially with streaming 09:16:41
16 performance of the Sonos Play:1 products with 16 media. My research group was one of the first to
17 others, right? 17 implement multichannel audio streaming across the
18 A Yes. 18 country over Internct2, and for that we had a large
19 Q And who are these others that you're 19 group that was working on various aspects of
20 referring to here? 09:14:23 20 networking, including peer to pecr and other aspects 09:17:05
21 MR. KAPLAN: Object to form. 21 of it. So, yeah, quite a bit of experience.
22 THE WITNESS: There's a number of them. Some 22 Q What is Internet2?
23 are home speakers. PSB. Bose. Amazon products. 23. A Internet2 is what the internet was when it
24 Paradigm is a high-end company that makes wireless 24 first started, which is a network that was closed
25 speakers. A number of others. 09:14:51 25 off to the public and only open to academic and 09:17:24
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research institutions. It's a much higher bandwidth

themselves inside the stores like the Apple Store

2 network that is basically used for experimentation 2 and Best Buy.
3 for next-generation applications on the internet. 3. Q Do you know any Audyssey -- do you know the
4 Q So do you have any experience in designing or 4 product names of any of the Audyssey products?
5 implementing a network? 09:17:48 5 A. The loudspeakers? 09:21:02
6 <A My experience is in coding, testing 6 Q Yes. Any Audyssey product, really.
7 performance of networks, not necessarily designing 7 A So the main Audyssey product was called
8 networks from scratch. Software that goes on 8 MultEQ, M-U-L-T-E-Q. That was the name of the
9 networks, though, yes. 9 umbrella of technologies that had to do with
10 Q But you never designed or architected a 09:18:11 10 acquiring in-room information, acoustical 09:21:21
11 network, right? Is that right? 11 information, and correcting it. And the logo is
12 MR. KAPLAN: Object to form. 12 still found on many receivers like Marantz and
13 THE WITNESS: Well, I guess I'm -- 13, Denon, D-E-N-O-N.
14 architected -- 1 was part of the team. I led the 14 The speaker products had -- were named of
15 team that architected a multichannel audio streaming 09:18:34 15 after interesting, hip neighborhoods. That was the 09:21:51
16 solution, Lossless, over a network. And so J didn't 16 marketing plan. So Lower East Side, Market -- South
17 build the network from scratch. It was an existing 17 of Market. Yeah.
18 network. We just built the software to run all of 18 Q Are you familiar with the Audyssey Sub
19 that. 19 Equalizer product?
20 BY MR. PAK: 09:19:01 20 A lam, yes. 09:22:19
21 Q Gotit. 21 Q What is a sub equalizer?
22 And you're the founder and CTO of a company 22. A A sub equalizer -- so in the home theater
23 called Audyssey Laboratories; is that correct? 23 market, it is popular to have separate components
24 A That's right. 24 for audio systems. So people will buy their
25 Q And Isee the background. Is that an 09:19:07 25 favorite loudspeakers, they will buy their favorite 09:22:39
Page 18 Page 20
1 Audyssey Laboratories product behind you? 1 audio receiver amplifier.
2 A The loud speaker, no. 2 And for people that already had invested
3. Q No? 3 money in a product that didn't have Audyssey room
4 A No, it's not. I have one, but it's not in 4 correction in it, we actually made two products.
5. this room, 09:19:21 5 One was called the Audyssey Equalizer, which allowed 09:22:51
6 Q What products did you help design at 6 you to insert it in the path, in the audio path, and
7 Audyssey? 7 take advantage of the Audyssey technologies.
8 A_ So Audyssey was a spinout from my research 8 And the sub equalizer was basically the same
9 lab at USC with a couple of graduate students. We 9 thing except it was only focused on room correction
10 started in the audio technology licensing business, 09:19:36 10 of the subwoofer frequency range, the low 09:23:15
11 and so the product there was technologies for 11 frequencies.
12 automatic measuring of acoustical problems in rooms 12 Q Gotit.
13 and solutions for fixing them. And perhaps you've 13 And I want to introduce an exhibit here.
14 seen the little microphone that comes with home 14 It's the Audyssey manual. And I just uploaded it in
15 theater equipment. You put it in your living room 09:20:01 15 the exhibits folder and marked it as Exhibit 1. 09:23:28
16 or your car or IMAX theaters, for cxample. There 16 (Exhibit 1 was marked for identification
17 are many places that have that. 17 electronically and is attached hereto.)
18 So it started as a softwarc solution that was 18 BY MR. PAK:
19 being licensed. In the course of that company, we 19 Q Do you see that?
20 also designed some loudspeaker products to showcase 09:20:23. | 20 A Not yet. I'm refreshing the screen here. 09:23:34
21 the technologies so that we could be fully in 21 I'm looking at another monitor, so --
22 control of them. 22 Q Sure. Iam too.
23 And these were wireless speakers. Three were 23 THE VIDEOGRAPHER: You have to refresh the
24 wireless and one was wired. And so those were -- 24 browser each time.
25 those were the physical products that found 09:20:48 25 MR. KAPLAN: Chris, sometimes you can just 09:24:02
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1

hit the Marked Exhibits folder again and that will

data after processing it.

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2 do it. 2 Q Well, let me ask you this. The Sub Equalizer
3 THE WITNESS: Oh, there it is. Okay. I got 3 was not designed to communicate over Wi-Fi,
4 it. I'm opening it now. 4 Bluetooth, or Ethernet. How did it communicate over
5 BY MR. PAK: 09:24:17 5 a data network? 09:27:01
6 Q Do you recognize this document? 6 MR. KAPLAN: Object to form.
7 A Sorry, it hasn't opened yet. 7 THE WITNESS: Well, those are not the only
8 Q Sure. Let me know. types of networks. Anything that carries data is a
9 A Okay. Yes, it's open now. 9 data network. So this is an audio data network.
10 Yes, I recognize it. 09:24:26 10 BY MR. PAK: 09:27:11
11 Q Okay. And this is the Audyssey MultEQ Pro 11. Q You're saying these speakers -- how are these
12 User Guide, correct? 12 speakers connected to the Sub Equalizer?
13. A Correct, MultEQ Pro. It was software that we 13. A. Through audio cables.
14 provided to home theater installers. And this was 14. Q What kind of -- sorry, J didn't mean to cut
15 additional functionality than what a consumer could 09:24:45 15 you off. 09:27:27
16 do with the built-in software. And we marketed it 16 A No, no. It's fine.
17 as MultEQ Pro. 17. Q What audio cables do you use to connect, you
18 Q I want to turn to PDF, page 14. And there's 18 know, one of these speakers to a Sub Equalizer?
19 aconnection diagram for the Audyssey Sub Equalizer. 19 A They're called line level cables or RCA
20 Do you see that? 09:25:02 20 because of the type of connector, which is named as 09:27:46
21 A It'scoming. Page 14? 21 an RCA connector.
22. Q PDF page 14. 22 Q Soif-you have a speaker connected to, you
23. A Oh, PDF page 14. 23 know, another device, you know, another device here
24 Q Butit's page 10 of the manual. 24 being a Sub Equalizer via RCA cables, are they
25 A Okay. 09:25:26 25 communicating over a data network? 09:28:06
Page 22 Page 24
1 Q Okay. So you see the connection diagram for 1 A Inthe most general definition of a data
2 the Audyssey -- 2 network, audio certainly falls into that. And I
3. A Yes, 3 would consider this a wired data network. To put it
4 Q Does that look like an accurate 4 in the context of the discussion we're having today,
5 representation of the Sub Equalizer? 09:25:33 5 yes. 09:28:27
6 MR. KAPLAN: Object to form. 6 Q Okay. So, I mean, any device that can carry
7 THE WITNESS: It's an accurate representation 7 data to another device is a data network; is that
8 of how we recommended the connection, yes. 8 correct?
9 BY MR. PAK: 9 MR. KAPLAN: Object to form.
10 Q Was the Sub Equalizer designed to communicate 09:25:48 10 THE WITNESS: Any infrastructure that can 09:28:37
11 over Wi-Fi? 11 connect devices and carry data, yes.
12) A No. 12 BY MR. PAK:
13. Q Was the Sub Equalizer designed to communicate 13 Q In general, do you have an understanding of
14 over Bluetooth? 14 what a term of art is?
1S A No. 09:25:58 15 A Yes. 09:28:53
16 Q Was the Sub Equalizer designed to communicate 16 MR. KAPLAN: Object to form.
17 over Ethernet? 17 BY MR. PAK:
18 A No. 18 Q What is your understanding?
19 Q Was the Sub Equalizer designed to communicate 19 A A term of art in my understanding is -- maybe
20 over a data network? 09:26:09 20 not the exact legal definition -- it's what a person 09:29:05
21 A Well, it was designed to accept, process and 21. of skill would understand that to mean in the art,
22 produce or transmit audio data, 22 in the field.
23 So in the context of data -- audio being 23 Q_Is the term "network" a term of art?
24 data, which it is, | would say yes, it's connected 24 MR. KAPLAN: Object to form.
25 to two devices as shown here and it's passing audio 09:26:30 25 THE WITNESS: Yes. 09:29:25

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| BY MR. PAK: 1 laptops on a data network, correct?
2 Q Before you were engaged as an expert for this 2 <A Correct.
3 matter, did you have an understanding of what 3. Q Are there any other types of devices other
4 network means? 4 than a laptop that can be on a data network?
5 A Yes. 09:29:34 5 A Anything that allows the passage of data 09:32:45
6 Q What was that understanding? 6 through it that is connected to other devices can be
7 A Basically what I said a minute ago. A 7 on a data network.
8 network is an infrastructure of devices and 8 So in a studio environment, microphones and
9 interconnects that allows the flow of data between 9 loudspeakers are on a data network, and sometimes
10 them. Or enables the flow of data between them. 09:29:54 10 over very long distances. The control room isin 09:33:06
11 Q Okay. So your definition of a nctwork is the 11 another place. Obviously computers are on a data
12 same as a data network; is that correct? 12 network. Cell phones are on a data network. Yes.
13 MR. KAPLAN: Object to form. 13 And many other types of devices.
14 THE WITNESS: I think -- a network carries 14 Q Sure. And a data network can be wired or
15 data, so yes. 09:30:19 15 wireless, correct? 09:33:26
16 BY MR. PAK: 16 A Correct.
17 Q Is "data" a term of art? 17 Q What are the types of cables or interfaces to
18 A Yes, itis. 18 transfer data over a wired data network?
19 Q Before Google engaged you as an expert in 19 MR. KAPLAN: Object to form.
20 this matter, did you have an understanding of what 09:30:41 20 THE WITNESS: Over wired? 09:33:39
21 data means? 21 BY MR. PAK:
22 A Yes, absolutely. 22 Q Yes. J -- well, ] assume in a wireless data
23 Q What was that understanding? 23 network you wouldn't need cables, right?
24 A Data is in its -- in the highest level 24 A Right. Correct.
25 definition, data is information. 09:30:53 25 In a wired one, I mean, I guess anything that 09:33:51
Page 26 Page 28
1 Q Can data be analog or digital? 1 can establish electrical connection. So it would
2 A Yes, absolutely. 2 be -- it could be copper, it could be optical, it
3. Q Is “data network" a term of art? 3 could be Ethernet. There's probably others that I'm
4 A I would say yes. 4 forgetting, but --
5 Q Is there a difference between a network and a 09:31:18 5 Q You mentioned earlier RCA cables, you can use 09:34:20
6 data network? 6 an RCA cable to --
7 MR. KAPLAN: Object to form. 7 A Yeah. Those fall into copper for me, but
8 THE WITNESS: In the context of what we're 8 yes.
9 speaking of, I would say no. There is a network of 9 Q Got it. What about speaker wires, does that
10 people that I have on LinkedIn, but that's a 09:31:35 10 fall under copper? 09:34:33
11 different kind of network. But in this context, I 11. A Also under copper.
12 would say no. 12. Q Does a data network require devices to
13 BY MR. PAK: 13 transfer data in a certain format to communicate
14. Q Would you say that a network and a data 14 with another device that is on the network?
15 network are both mediums that carry data? 09:31:54 1S A_ There has to be -- the devices have to 09:34:47
16 MR. KAPLAN: Object to form. 16 understand the data coming in. So if that is what
17 THE WITNESS: In this context, yes. 17 you mean by format, then yes. If not, there are
18 BY MR. PAK: 18 translator devices that can convert it.
19 Q Okay. What are the types of devices that can 19 Q Okay. So when a device transfers data to
20 be on a data network? 09:32:15 20 another device on a data network, there's got to be 09:35:14
21 MR. KAPLAN: Object to form. 21 some kind of protocol, right?
22 THE WITNESS: The types? What do you mean by 22 A Yes.
23 "types"? 23 MR. KAPLAN: Object to form.
24 BY MR. PAK: 24 BY MR. PAK:
25 Q Well, for example, you can have a laptop or 09:32:29 25 Q What are the protocols that are required for 09:35:25
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1 a data network? 1 than 802.11?
2 A There's a pretty large number of them. A 2 <A Well, there are other Wi-Fi methods that are
3 common protocol is to -- is based on the principal 3 proprietary to individual companies that may -- that
4 of modulation. Again, I'm speaking in the context 4 don't have to comply with 802.11 between their own
5 of our discussion today and the matters here. 09:35:45 5 devices. I don't know how they work because they're 09:39:45
6 So in a modulation concept, the modulation 6 proprietary, but they do exist.
7 type protocol is understood to take in data, put it 7 Q And these protocols you mentioned, like
8 ina certain form so that the receiving device can 8 802.11, for example, or TCP, they require data to be
9 understand it. Since we're speaking of audio, pulse 9 sent in a certain format; is that correct?
10 code modulation is a common one. 09:36:14 10 MR. KAPLAN: Object to form. 09:40:02
YW There arc optical protocols called SPDIF, M1 THE WITNESS: Thosc protocols, the standards
12 Sony Phillips Digital Interchange Format. There 12 require, yes, data to be in a certain type. Just
13 are, of course, computcr-to-computer protocols such 13 {ike all the other protocols.
14 as Ethernet. And several others. 14 BY MR. PAK:
15 Q Okay. Specifically ifa device wants to 09:36:49 15 Q Do the Wi-Fi and Ethernet standards require 09:40:17
16 communicate with another device on an internet-based 16 data to be sent in data packets?
17 network, what protocols are required for that 17. A The 802.11 Wi-Fi does. The Ethernet, as I
18 communication? 18 said, you can -- Ethernet is basically the cable.
19 MR. KAPLAN: Object to form. 19 Different protocols can run on it. TCPIP is data
20 THE WITNESS: Can you define internet-based 09:37:10 20 packets, yes. Or it's based on data packets. 09:40:37
21 network for me, please? 21 Q Are there any Wi-Fi Ethernet standards that
22 BY MR. PAK: 22 don't require data to be sent in the form of data
23. Q Yeah. So communicate over Wi-Fi or Ethernet, 23 packets?
24 for example. 24. A AsI said, I don't know the Wi-Fi inner
25 MR. KAPLAN: Object to form. 09:37:20 25 workings of the proprietary ones, so I'm not sure] 09:40:58
Page 30 Page 32
1 THE WITNESS: Oh, I'm sorry. Did you say 1 can answer that. Or the wired ones.
2 Ethernet or internet? 2 There are multi-room systems that have been
3 BY MR. PAK: 3 around in the home installer market for a long time
4 Q Wi-Fi or Ethernet. 4 that use Ethernet. But it's not necessarily a
5 A Ethernet. I see. 09:37:29 5 standard Ethernet, based ona standard. Sol 09:41:16
6 Q Yeah. 6 couldn't say for sure what they use.
7 A So the format for those is -- I mean, there's 7 Q Okay. And I want to introduce another
8 a Wi-Fi standard under the 802.11 IEEE, Institute of 8 exhibit here. Just give me one minute.
9 Electrical and Electronics Engineers, and that 9 A Sure.
10 standard has been established for -- the devices 09:37:52 10 Q Okay. I just uploaded Exhibit 2. Letme — 09:41:33
11 that want to talk to each other on Wi-Fi have to 11 know if you see it.
12 implement that standard on the transmitter and the 12. A Yes. Okay.
13 receiver so that they can communicate. 13 (Exhibit 2 was marked for identification
14 There are also standards for Ethernet. A 14 electronically and is attached hereto.)
15 common one is TCP, Transfer Control Protocol. There 09:38:10 | 15 BY MR. PAK: 09:41:57
16 are others. 16 Q Do you recognize this document?
17. Q Can you name some of the other protocols? 17. A No.
18 MR. KAPLAN: Object to form. 18 Q Okay. Well, I'll represent to you that these
19 THE WITNESS: There are Asynchronous Transfer 19 are slides from a computer networks course from
20 Mode, ATM. Token Ring kind of networks. Anda 09:38:43 | 20 Cornell University that 1 downloaded from the 09:42:11
21 variation of that, which is a Star network. 21 internet.
22 That's what comes to mind now. I'm sure I 22 Do you sec on the first page it says "CS519:
23 can think of more later. 23 Computer Networks," correct?
24 BY MR. PAK: 24 A Ido.
25 Q Are there any other Wi-Fi standards other 09:39:18 25 Q Andit'sa lecture from January 24, 2004, 09:42:18
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1 right? { A. First of all, J never heard that euphemism,
2 A Yes, 2 and I'm pretty familiar with the field of streaming
3. Q Okay. And I want to focus on the slide 6, so 3 audio and networks and use for that, and voice. I
4 PDF page 6. 4 think a voice network is a data network. It's
§ A They're not numbered. What is the title of | 09:42:35] 5 carrying voice data. 09:44:59
6 the slide? 6 Q Well, what is a voice network?
7 Q Itsays, "What is a data network?" 7 A It's anetwork that carries voice. For
8 A Isee it. 8 example, a telephony network.
9 MR. KAPLAN: Chris, J don't mean to 9 Q Could you give me some other examples of a
10 interrupt, but if you sort of scroll your mouse over 09:42:48 10 voice network? 09:45:23
11 the exhibit, it will show the page numbers there. 11 A If we're talking about a network that only
12 THE WITNESS: Yeah, J just realized. But for 12 carries voice, then ] think telephony is probably
13 some reason it's showing as page 5 for me. But, 13 the only one that comes to mind. There are other
14 okay, I do see it. 14 networks that carry voice and other things, like
15 BY MR. PAK: 09:43:00 15 cellular networks and cell phone networks. But if 09:45:42
16 Q I guess itis page 5. Page 5 of the PDF. 16 we're talking about just voice, then I would think
17 A Yes. 17 telephony is the -- ] -- I just thought of another
18 Q And it says: 18 one. A walkie-talkie network that has multiple
19 “What is a data network?" And 19 wireless devices that a firefighter department would
20 then, “The answer is not a network 09:43:09 20 use, that is a voice network and it carries data. 09:46:01
21 that carries data." 21 Q Soa walkie-talkie network, in your opinion,
22 Do you see that? 22 is a data network?
23, A Ido. 23. A Well, I guess walkie-talkie network is --
24 Q And the slide explains that one reason why a 24 walkie-talkie is the devices on a wireless network
25 data network is not a network that carries datais 09:43:20 25 that exchange voice data. 09:46:25
Page 34 Page 36
1 because you can send data over a voice network, 1. Q And what protocol does this wireless network
2 which is often a euphemism for a circuit network, 2 use to exchange voice data?
3 and a voice network is not a data network. 3. A Most of them are based on radio frequency,
4 Do you see that? 4 RF. But the protocols, again, J think are
5 A Ido. 09:43:36 5 proprietary to the individual companies that make 09:46:48
6 Q Do you agree with that statement? 6 them, like Motorola and others.
7 A Notat all. 7 Q And when you say a telephony network, are you
8 Q Why do you disagree? 8 referring to a public switch telephone network?
9 A I think it's an appropriate statement for a 9 A Yes.
10 packet network course -- for a network course, it's 09:43:4410 @Q Okay. Soa public switch telephone network 09:47:05
11 appropriate for that kind of class, but I don't 11 is a voice network; is that right?
12 think that's a general statement that is true 12, A Yes.
13 because data -- networks carry data. That's the 13. Q Isacellular network a voice network?
14 very definition of a network. 14. A Well, as I said before, it can be a voice
15 I don't know this class, but it sounds like 09:44:09 15 network if all that anyone does on itis speak on 09:47:23
16 they're going to be talking about a subset of 16 the phone. But it is capable of other information
17 networks that carry packet data, and they certainly 17 as well on that network. So it's not exclusively
18 exist. 18 voice.
19 Q Well, you say you never taught a course in 19 Q Soacellular network can cither transmit
20 computer networks; is that right? 09:44:22 20 voice or data, right? 09:47:36
21 A Yes. 21 A No.
22 Q Do you agree that a voice network is a 22 MR. KAPLAN: Object to form.
23 euphemism for a circuit network? 23 THE WITNESS: Voice -- a cellular network
24 A No. That is not a term of art. 24 transmits or carries data. Voice is data as far as
25 Q Why do you disagree? 09:44:32 25 it's concerned. 09:47:53
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| BY MR. PAK: 1 Sitting here today, you can't think of a
2 Q Right. Soa cellular network can carry data 2 digital cellular network that is not packet based,
3 in the form of voice, right, or non-voice data; is 3 correct?
4 that right? 4 A Correct, but that's not -- I'm not saying
5 A Right. 09:48:05 5 that they don't exist, just that {can't think of 09:51:15
6 Q So how do you transmit voice data over a 6 one.
7 cellular network? 7 Q So you said ina cellular network, you can
8 <A Well, it depends on what kind of cellular 8 either transmit voice data or non-voice data, right?
9 network. There are different kinds of cellular 9 A Right.
10 networks. So the first ever created was probably, 1 09:48:25 10 MR. KAPLAN: Object to form. 09:51:35
11 would say, in Japan in 1979 or 1980, somewhere 11 BY MR. PAK:
12 there. And it was an analog-based system where -- 12) Q So ina ccllular network, is -- is voice data
13 and I guess at the time that would have been truly 13 transmitted differently than non-voice data? Do
14 for voice because I don't think there was other 14 they take different paths?
15 multimedia data being sent over the network. 09:48:47 15 MR. KAPLAN: Object to form. 09:51:50
16 So that was through a mechanism called 16 THE WITNESS: Weil, it kind of depends. If
17 frequency division multiplexing, which basically is 17 you're communicating with somebody else on another
18 a protocol for splitting up the audio bandwidth into 18 cellular phone, for example, the path between you
19 different bands and then dividing them into 19 and the other person may be different because of the
20 different bands, and then blending them all together 09:49:04 20 way cellular networks work. If you're using your —_ 09:52:09
21 when they arrive at the other end. So that was a 21 phone to send data to a device in your house, that
22 purely analog system. And, actually, it's still in 22 would be a different path as well.
23 existence in some parts of the world. 23 So I guess I wasn't fully clear on your
24 There are also digital systems, and they have 24 question.
25 increased over the years from -- starting from 2G, 09:49:23 25 Hil
Page 38 Page 40
} which was the first one, all the way to what we have 1 BY MR. PAK:
2 today, which is 5G, increasing the bandwidth of each 2 Q I want to go back to the slide here. It
3 connection and also total bandwidth to improve 3 says:
4 quality and speed. 4 "Data network is often a
5 Q So ina digital cellular network, what -- 09:49:47 5 euphemism for packet network." 09:52:36
6 when you transmit data, what -- what form does that 6 Do you agree with that statement?
7 data take? Is -- does it have to take the form of 7 A Idonot.
8 data packets? 8 Q And you disagree with the statement because a
9 A The standards dictate the form. So there are 9 data network is any type of network that carries
10 different schemes. There's time division 09:50:16 | 10 data; is that -- is that correct? 09:52:52
11 multiplexing, which was the next evolution after 11. A That's correct. And the data can be in many
12 frequency division. I would say, yes, the majority 12 different forms and it could be analog or digital.
13 of those are probably packet based. 13 But even within those, it can be different protocols
14 Q Are there any digital cellular networks that 14 for each one of those.
15 are not packet based? 09:50:32 1S Q Isa voice network a packet network? 09:53:06
16 A_ Idon't know. That would be a pretty 16 MR. KAPLAN: Object to form.
17 sweeping statement for me to make without looking 17 THE WITNESS: A voice network can be packet
18 into it a little bit more. 18 based, yes. But there are many -- the original
19 I can't think of an example off the top of my 19 PBX-type switches were not. Those were a voice
20 head, but I don't want to say no for sure because I 09:50:4920 network that was analog. And then later other 09:53:34
21 would have to look into it. 21 networks came out that are digital.
22 Q Sitting here today, you can't think of any 22 But analog voice networks still exist and are
23 digital cellular networks that are packet based -- 23 in use in many places, including elevators for
24 that are not packet based? Let me -- let me start 24 safety and places where you want the internet not to
25 over. 09:51:04 25 fail, especially for safety applications. 09:53:47
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1 BY MR. PAK: 1 destinations."
2 Q Okay. So an analog voice network is not a 2 Yes, | would agree with that.
3 packet network, correct? 3 BY MR. PAK:
4 A Ananalog -- no, it is not. 4 Q Cana circuit network be digital or analog?
5 Q Isa digital voice network a packet network? 09:54:01 5 A Yes. 09:56:39
6 A As lIsaid before, most of them are. There 6 Q What's an analog -- what are some examples of
7 might be examples where they're not, but I don't 7 analog circuit networks?
8 know one off the top of my head. I would say most 8 <A Well, those are the original telephony
9 are. 9 products that connect to POTS, plain old telephone
10 Q And I want to take a look at -- let me find 09:54:20 | 10 system lines. You still find limited -- you find 09:56:56
Li the right slide here. | think it's PDF page 9 of 11. them in nctwork closets of many companics or other
12 the slides. The header says "Packet Network versus 12 organizations. So, yes, there are analog switching
13 Circuit Network." 13 or circuit networks that still exist.
14 Do you see that? 14. Q You said those are examples of an analog
1S A Yes. 09:54:44 15 voice network, right? 09:57:31
16 Q So this slide says: 16 A Right.
17 "Packet Network versus Circuit 17 Q Soisa voice network not a circuit network?
18 Network. By contrast, packet network 18 A_ A voice network --
19 allows small units of data packets to 19 Q Let me ask you a different question.
20 be individually sent to different 09:54:55 20 Is a voice network synonymous -- synonymous 09:57:49
21 destinations." 21 with the term circuit network?
22 Do you see that? 22 A No.
23. A Ido. 23. Q How are they different?
24 Q Can you send data packets over a circuit 24 A Acircuit network is something that requires
25 network? 09:55:04 25 aphysical connection to be made of the sending —- 09:58:02
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1 A Probably not. I'm trying to figure out what 1 location and the receiving location. You think of
2 the "by contrast" means here. Is there a previous 2 it as the old telephone operator plugging in patch
3 slide that contrasts to something? 3 cords. So that's a circuit network. What it
4 Q Yeah. So in the context, you know, the 4 carries is voice. And so I guess it's not a term
5 header says, "Packet Network versus Circuit 09:55:32 5 that I often use, but it is a term that T guess 09:58:21]
6 Network." So “by contrast" here it's comparing a 6 people use calling it a voice network. You could
7 packet network to a circuit network; is that 7 send other things over an analog switching network.
8 correct? 8 Q And you said earlier that public switch
9 A Yes. 9 telephone network is a voice network, right?
10 Q So unlike a circuit network, this slide says: 09:55:42 | 10 A Isaid -- I don't remember what I said. The 09:58:41
11 "A packet network allows small 11 public switch network can be used as -- for voice.
12 units of data packets to be 12 Q Cana public switch telephone network be used
13 individually sent to different 13 ina circuit network?
14 destinations." 14 MR. KAPLAN: Object to form.
15 Is that right? 09:55:59 15 THE WITNESS: It's not to be used in. It's 09:59:05
16 MR. KAPLAN: Object to form. 16 implemented using circuit networks, or circuit
17 THE WITNESS: Right. But -- so ina digital 17 network devices.
18 switching -- a digital circuit network, that could 18 BY MR. PAK:
19 also be true, right? 19° Q Well, let me ask you this way. Is a voice
20 So I understand what they're trying to say 09:56:15 | 20 network a type of circuit network? 09:59:28
21 here for the purposes of this class that they're 21 A Yes.
22 teaching, but I guess reading the sentence by 22 Q Okay. I want to introduce a new exhibit
23 itself: 23 here, Exhibit 3. Just give me one minute.
24 "A packet network allows packets 24 (Exhibit 3 was marked for identification
25 of data to be sent to different 09:56:30 25 electronically and is attached hereto.) 10:00:11
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Det
Oo on NDmA PWN KH DUO MAD HN F WN

BY MR. PAK:

Q Okay. just uploaded Exhibit 3. Let me
know when you see it.

A Isee it.

Q Do you recognize this document?

A recognize maybe not this edition of it, but
I have seen the computer dictionary before, yes.

10:00:23

Q Okay. Yeah, so this is an excerpt from the
Microsoft Computer Dictionary, Fifth Edition.

And you said you're not sure if you read this 10:00:44
edition, but you've looked through the Microsoft
Computer Dictionary before, right?

A. Yes, I have.

Q I want to look at page 3. At the bottom, do
you see a definition for a data network?

A Yes.

Q Could you please read that definition for the

10:01:04

pee ek eth
0 ONDA UP WNH KH TDHO AAI DUN PWN

A Correct.

Q Why do you disagree?

A Because I think we talked about several
examples of networks that carry analog signals, and
so it's not an opinion. I mean, the existence of — 10:03:47
those networks proves it doesn't have to be digital.

Q And earlier, you know, as we discussed, your
opinion is that a voice network can transmit analog
signals, but it can also transmit digital signals;
is that correct?

A Yes.

MR. KAPLAN: Object to form.
THE WITNESS: Yeah, I agree with that.
BY MR. PAK:

Q Okay. Is local area network a term of art?

A. Yes, it is.

Q Before Google engaged you as an expert for

10:04:17

record? this matter, did you have an understanding of what
A local area network means?
20 "A network designed for 10:01:15 20 A Yes, I did. 10:04:31
2) transferring data encoded as digital 21 Q What was that understanding?
22 signals, as opposed to a voice 22 A Itisa-- again, infrastructure or medium
23 network, which transmits analog 23 for connecting multiple devices for the purpose of
24 signals." 24 exchanging data. :
25 Q So like the Cornell University slide we just 10:01:25}25 Q What are the types of devices that canbe on 10:04:5
Page 46 Page 48
1 looked at, the Microsoft Dictionary distinguishes a 1 a local area network?
2 data network from a voice network, correct? 2 A They can be -- because I work a lot with
3 MR. KAPLAN: Object to form. 3 studios and other things, it can be mixing consoles,
4 THE WITNESS: That's what it says. 4 loudspeakers, computers, microphone preamplifiers,
5 BY MR. PAK: 10:01:48 5 printers. There's a very large list of things it 10:05:16
6 Q Do you agree with this definition of data 6 could be on this kind -- on a local area network.
7 network from the Microsoft Computer Dictionary? 7 Q A local area network can be wired or
8 A Jagree with parts of it. A network designed 8 wireless, correct?
9 for tansferring data. But I don't agree that it 9 A Yes.
10 has to be digital. 10:02:00 10 Q What are the types of cables used to transfer 10:05:29
11 Q What does transferring data mean? 11 data over a wired local area network?
12 A In this context, I think because it's 12 A It's similar to the list that we talked about
13 Microsoft, it means -- I assume it means data from 13 before in terms of data networks. It's copper and
14 one computer is moved to another computer. 14 all types of copper connections, including audio
15 Q So it talks about sending and receiving data, 10:02:31] 15 cables, speaker cables, Ethernet, coaxial cables, 10:05:53
16 right? 16 optical cables. That's probably a good list.
17. A_ J don't -- maybe transferring means -- to me 17. Q So ifa speaker is connected to the Sub
18 means taking it from one place to another. I don't 18 Equalizer, for example, via a RCA cable -- let me
19 see anything in this definition that implies it's 19 start over.
20 bidirectional. 10:02:53 20 So if a speaker is connected to another 10:06:24
21. Q What do you mean by "bidirectional"? 21 device, such as the Sub Equalizer via RCA cables, is
22 A Sending and receiving, as you said, between 22 that on a local area network?
23 two devices, for example. 23. A Yes. Those are exchanging data.
24 Q Okay. So this definition, you disagree that 24 Q Doesa local area network require devices to
25 a data network is limited to digital signals, right? 10:03:29] 25 transfer data in a certain format to communicate 10:06:5
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1 with another device? 1 Q When you transmit digital data over a local
2 A Itdoes. The devices on that network have to 2 area network, does that data have to take the form
3 all have an agreed-upon representation of the data 3 of digital data packets?
4 or use an appropriate translator to make it 4 A No, it doesn't have to.
5 understandable to them, but yes, 10:07:08 5  Q What other forms can that data take? 10:11:00
6 Q So devices on a local area network have to 6 A The examples I was giving before, some kind
7 communicate using a specific network protocol, 7 of a modulation. So pulse code or pulse width
8 right? 8 modulation. So, no, it doesn't have to be packet
9 A Yes. 9 based.
10 Q What are those network protocols? 10:07:25 | 10 Q When we talked about modulations, you 10:11:30
11 A So there are -- again, because I come from 11 referred to them as analog data; is that right?
12 the audio world, there are modulation protocols, 12. A No. The one kind, frequency division, is the
13 such as pulse code modulation, pulse width 13 analog. But the -- so pulse code and pulse width,
14 modulation, optical data protocols, which are 14 the examples I'm using here, require the translator
15 digital. Well, all the ones I mentioned are 10:07:49 | 15 device. 10:11:54
16 digital. 16 So let's say you have an audio device that's
17 And then there are also the -- if we're 17 sending out analog audio, but you want to connect it
18 talking about printers and computers, then there are 18 over a local network to other devices to receive
19 the TCP internet protocols. 19 that audio, the wired network. You might convert it
20 Q Are these analog protocols or digital 10:08:04 | 20 to digital audio and then use -- and that conversion 10:12:16
21 protocols? 21 puts it in the forms of pulse code modulated or
22 A Well, I guess I don't think of a protocol as 22 pulse width modulated audio. Most common is pulse
23 analog or digital. It's -- there are protocols for 23 code. It's sent over the network in that format and
24 analog data and there are protocols for digital 24 then the opposite operation happens at the receiving
25 data. Perhaps that's what you meant? 10:08:36 | 25 end. 10:12:37
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1 Q Yeah, that's what I meant, actually. 1 So these converter devices are in many cases
2 What are the protocols for analog data for a 2 built into the audio source and receiver and
3 local area network? 3 sometimes they can be separate.
4 A So they're modulated -- so FM is -- not the 4 Q So when you convert audio into digital form
5 radio kind of FM, but frequency or amplitude 10:09:02 5 in pulse code modulator or pulse width modulated 10:12:55
6 modulation of audio data can be sent over cables and 6 audio data, and you transmit that over a network,
7 demodulated at the receiving side and be converted 7 does that data have to take the form of data
8 back to audio. That's one that comes to mind for 8 packets?
9 analog. 9 A No.
10 Q Are there any other protocols for analog data 10:09:26 10. Q What does that data -- what form can that 10:13:19
11 over a local area network? 11 data take other than data packets?
12. A The method that I talked about before for the 12. A You can think of it as a stream of zeroes and
13 1G cellular networks, frequency division 13 ones because it's digital now.
14 multiplexing, that can also be applied to wired 14 I guess the best analogy I can think of is in
15 local area networks as well. 10:09:50 15 Morse code you can have a long beep or a short beep, 10:13:39
16 Q What are the protocols for digital data over 16 and so the pulses can be wide to represent, let's
17 a local area network? 17 say, a one or short to represent a zero and then
18 A _ It depends on the data. So if it's -- again, 18 that pattern is read in by the receiving device and
19 if we're talking about multimedia audio data, those 19 converts back to audio.
20 can be the ones that ] mentioned before, the pulse 10:10:12 20 Q Does an infrared remote that sends infrared 10:14:00
21 code or pulse modulation or optical, SPDIF. 21 signals to a TV amount to a coupling by way of a
22 If we're talking about computers and 22 local arca network?
23 printers, those are TCP-type protocols. But there 23. A Yes. It's sending data to a TV in this case,
24 are others. There are peer-to-peer connections that 24 right? So over an agreed-upon protocol. So yes.
25 can happen. 10:10:36 25 Q Soas long as data is being carried over to 10:14:36
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1 another device using some agreed-upon protocol, 1 Q Right. So there is a difference between a
2 you're saying that that is enough to be on a local 2 data network and a local area network, right?
3 area network; is that right? 3. A No. A local area network is a data network.
4 MR. KAPLAN: Object. Form. 4 But it has this additional attribute that is used to
5 THE WITNESS: It's enough to be on a network. 10:14:55 5 compare it to larger data networks, which are called 10:18:13
6 Local area usually is used as a term of art to 6 wide area networks.
7 differentiate it from larger networks. But, yes, I 7 Q What is -- where are those additional
8 agree. 8 attributes that make a data network a local area
9 BY MR. PAK: 9 network?
10 Q What do you mean by a local arca usually is 10:15:16 10. A They are used in -- when making comparisons — 10:1 8:27
11 usually used as a term of art to differentiate it 11 between two networks to differentiate usually by the
12 from large networks? 12 number of devices or the geographical area that is
13. A The industry uses these terms to give an idea 13 covered.
14 of the magnitude of the size of the overall network. 14 So they're all data networks, but the wide --
15 So they are, for example, wide area networks that 10:15:41 15. it's generally understood that a wider network has 10: 18:48
16 would consist possibly of multiple local area 16 many more devices or covers a wider geographical
17 networks and are generally considered to cover much 17 area than a local area network.
18 larger areas geographically. So it's kind of a 18 Q Are there any other additional attributes
19 Jayered terminology. There are also metropolitan 19 that make a data network a local area network?
20 area networks that typically are associated with a 10:16:03 20 A Not that I can think of at the moment, no. — 10:19:04
21 city. 21 Q Do you know any examples of a wide area
22 There's no hard definition of where the 22 network?
23 boundary of one ends and another one begins, but one 23 A. Yes. I don't know if there's a name for it,
24 would understand that a wide area network involves a 24 but the Western United States internet
25 much larger geographic area than a local area 10:16:16 25 infrastructure is generally considered a wide area 10:19:37
Page 54 Page 56
1 network. 1 network. Internet2 that we mentioned before is a
2 Q So local area network covers a limited area 2 wide area network.
3 compared to a wider network; is that right? 3. Q Doyou know any other examples of wide area
4 <A I wouldn't say limited. It's just smaller 4 networks?
5 than the wide area network. All networks are 10:16:42 5 A Iwould say satellite networks perhaps that 10:19:51
6 limited by area. Wide area networks are also 6 cover a part of the globe under their view are also
7 limited, perhaps to planet earth. But it's just a 7 wide area networks.
8 terminology for relative size. So one would 8 Q How do you transmit data over a satellite
9 understand a local area network has fewer devices on 9 network?
10 it than a wide area network. 10:16:57 10 A Inmultiple ways. It could be radio 10:20:22
11. Q Letmeask you this way, then. A local area 11 frequency based modulation or it could be packet
12 network covers a limited geographical area; is that 12 based, like it is for cell phones or cell networks.
13 right? 13. Q Can you transmit analog data over a satellite
14. A AsIsaid, asmaller geographic area. It can 14 network?
15 be quite large. That's why I objected to "limited." 10:17:16 15 A Analog data -- I'm trying to think of -- for 10:20:41
16 It can be pretty big. And then you say, okay, what 16 example, a short-wave radio is a kind of a network
17 about wide? Wide area network would be bigger. 17 that uses analog data over large distances. It's
18 Q Correct, right. So local area network covers 18 possible that it's rebroadcast through satellites.
19 asmaller geographical area than a wide area 19 I'm not sure. I think technically you can.
20 network; is that right? 10:17:32 20 I can't think of an example at the moment, — 10:21:13
21 <A Yes. 21 but there's no reason that you couldn't.
22 Q Is there a difference between a data network 22 Q Do you know any satellite networks that
23 and a local area network? 23 transmit analog data?
24 <A Well, a local area network is a subset of the 24 A Notoff the top of my head. I mean, I know
25 data networks, 10:17:56 25 an old example -- communication with the Apollo 10:21:33
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1 astronauts was done through radio waves. Perhaps I causes that. But yes.
2 eventually that became digital. But, no, I can't 2 Q Are there any other differences between a
3 think of an example off the top of my head. 3 local area network and a personal area network?
4 Q Does data that is transmitted over a 4 A Probably the number of devices in a local
5 satellite network have to take the form of data 10:21:55 5 area network would be higher than the number of 10:32:24
6 packets? 6 devices in a personal area network that are
7 A J don't think that's required, no. 7 possible.
8 Q What other forms of data can be transmitted 8 Q Are there any other differences between local
9 over a satellite network? 9 area network and a personal area network?
10 A There are other modulation schemes that can 10:22:09 10 A _ Tcan't think of one, no. 10:32:36
Il be used. Radiofrequency modulation schemes can be 11 Q So earlicr you said, you know, communicating
12 used to transmit data over satellites. 12 over two walkic-talkies could amount to a coupling
13 MR. PAK: How about we take a break, a quick 13 by way of a data network, right?
14 break? Maybe come back in five minutes. Is that 14. A Yes.
1S okay? 10:22:41 15 Q And that's because you can carry data from ‘10:33:04
16 THE WITNESS: Sure. 16 one walkie-talkie to another walkie-talkie, correct?
17 THE VIDEOGRAPHER: We are off the record at 17 A Correct.
18 10:22 a.m. 18 Q What if just had, you know, two cups on a
19 (Recess.) 19 string and I used that to communicate with George,
20 THE VIDEOGRAPHER: We are on the record at — 10:30:10 | 20 who is right by me, is that on a data network? 10:33:25
21 10:30 a.m. 21 MR. KAPLAN: Object to form.
22 BY MR. PAK: 22 THE WITNESS: That's a bit of an extreme
23. Q Dr. K., I want to explore a couple more 23 example, but if your voice carried over the string
24 examples regarding local area networks. 24 and the string was carefully selected and there was
25 A Okay. Before we get started, before you ask 10:30:25 25 no background noise, yeah, it's data. Your datais 10:33:46
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1 your question, | -- as I was walking upstairs, J 1 getting across to somebody else to another device.
2 thought of an example, if] could amend my previous 2 Nota very sophisticated one, but yes.
3 answer. 3 BY MR. PAK:
4 An example of analog communication over 4 Q Soas long as two devices or two nodes carry
5 satellites is of course the obvious one, broadcast 10:30:38 5 data, that's going to be on a data network, in your 10:34:02
6 television. Early days of broadcast television was 6 opinion?
7 analog signals being sent over satellite. That's an 7 A Yes.
8 obvious one. Okay. 8 MR. PAK: Okay. I'm going to introduce
9 Q Does a cell phone communicate with a 9 Exhibit 4. Ll actually uploaded it on the break and
10 Bluetooth headset amount to a coupling by way of — 10:31:07 10 marked it as Exhibit 4. Just let me know when you 10:34:27
11 local area network? 11 see it.
12 A Yes. 12 THE WITNESS: I see it.
13. Q Wasn't Bluetooth a type of personal area 13 (Exhibit 4 was marked for identification
14 network? 14 electronically and is attached hereto.)
1S A Again, these definitions are kind of 10:31:26 15 BY MR. PAK: 10:34:45
16 arbitrary in the sense that there is no hard line of 16 Q Do you recognize this document?
17 distance that goes from one to the other. It's a 17, A Yes.
18 small local area network, but if | have a speaker 20 18 Q This is your -- this is one of your
19 feet away from me communicating by Bluctooth, then 19 publications; is that right?
20 maybe that could be a local area network. It's not 10:31:46 20 A_ That's right. 10:34:51
21 ahard definition. 21 Q And the title says, "RMI System: Internet
22 Q Does local area network cover a broader 22 Meets the Future Home Theater," right?
23 geographical area than a personal area network? 23 A Correct.
24 <A By consensus of people in the field thinking 24 Q Atahigh level, what is this publication
25 of it that way. It's not something technical that 10:32:07 25 about? 10:35:07
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1 A This describes a set of experiments that 1 concurrently."
2 actually relates to the Internet2 discussion that we 2 Then the last sentence on that page says:
3 had earlier. RMI stands for Remote Media Immersion. 3 "Each cluster node is attached to
4 And for several years there was -- ] was a faculty 4 a local network switch with a fast or
5 investigator and then eventually a deputy director 10:35:30 5 Gigabit Ethernet link. The nodes 10:38:41
6 of the National Science Foundation Engineering 6 communicate with each other and send
7 Research Center that was established at USC, and 7 the media data via these network
8 this was one of the kind of capstone experiments 8 connections. We connected the local
9 that we did to push the limits of multimedia at the 9 switch to both a wide area network
10 time. This was in the late 1990s. 10:35:47 10 backbone to serve distant clients and 10:38:51
1 And so this paper talks about what i a local area network, LAN, environment
12 technologies would you -- would one need and how 12 with local clients."
13 would we use them to deliver what appears like high 13 Do you see that?
14 quality representation of reality to somebody that 14. A Ido.
15 is far away. 10:36:06 1S) Q So looking at Figure I, what are the cluster 10:39:05
16 Q What was your contribution with respect to 16 nodes?
17 this paper? 17. A_ What are in terms of --
18 A So several parts. It was the algorithms for 18 Q What are the cluster nodes with respect to
19 capturing audio on one end. Algorithms for 19 Figure 1? Can you point to them or show me -- tell
20 delivering it on the other end. Those were, I would 10:36:32 20 me -- 10:39:28
21 say, individual contributions. 21 A _ It's the ones that are labeled Node 0,
22 And then there were collaborative 22 Node 1, Node 2, Node N. It was scalable.
23 contributions in working with the researchers and 23. Q What is a node?
24 computer networks to develop methods together that 24 A Anode is I think a network -- people speak
25 met the requirements of multichannel audio, 10:36:48 25 for a connection of a device to the point of 10:39:53
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} immersive audio, that were very different from the 1 connection between a device like a computer or
2 requirements of sending faxes and e-mails in terms 2. server to the network.
3 of quality of service, forward error correction, and 3. Q Anda local switch described in your
4 other things like that. 4 publication is the Ethernet switch shown in
5. Q Okay. And I want to look at PDF page 4, 10:37:12 5 Figure 1; is that right? 10:40:10
6 Figure 1. 6 A Right.
7 Do you see that? 7 Q And the internet showing here in Figure 1
8 A Yes. 8 represents the wide area network backbone described
9 Q Did you design this architecture shown in 9 in your publication; is that right?
10 Figure 1? 10:37:29 10 A Correct. 10:40:22
11 A This architecture is -- this is all 11 Q Does Figure 1 also depict a local area
12 off-the-shelf equipment. It's computers and hard 12 network environment with local clients?
13 disks and Ethernet switch and computers at the other 13. A Well, the personal computers shown there are
14 side. So this was not -- we discussed how to put 14 ona local area network. The ones where the nodes
15 them together and all agreed that this is how we 10:37:58 15 were indicated. 10:40:45
16 would need to do it in order to achieve our goal. 16 Q So the nodes here represent personal
17 But the individual pieces are off-the-shelf 17 computers; is that right?
18 components. 18 A Ithink node is a term which -- it's the
19 Q Okay. And, you know, I want to take a look 19 device -- nodes to me represent connections, the
20 at the bottom of page -- PDF page 3 here, the last 10:38:1220 connection points. They happen to be parts ofa 10:41:11
21 paragraph. It says: 21 computer, an interface that the computer has to
22 "Figure 1 (next page) shows the 22 create that nodc.
23 server cluster architecture, which can 23 So I wouldn't -- the computer itself is not
24 harness the resources of many nodes 24 the node. I think the fact that it has a connection
25 and many disk drives per node 10:38:26 25 at that point makes -- creates a node as kind of an 10:41:31
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1 entryway to that network. 1 shown in Figure | transmit data packets over a wide
2 Q I want to take a look at the bottom 2 area network; is that correct?
3 paragraph, the left column of PDF page 4. The last 3. A Well, they first go over a local area network
4 sentence says: 4 into the switch, and then the switch multiplexes
5 "VBR streams enhance the 10:41:54 5 them all together and puts them onto the line that 10:44:55
6 rendering quality, but they generate 6 goes to the wide area network, as shown at the top
7 bursty traffic on a packet-switched 7 through fast Ethernet or Gigabit Ethernet.
8 network such as the Internet. In 8 Q Sure. So let me correct that here.
9 turn, this can easily lead to packet 9 So nodes communicate with the Ethemet switch
10 loss due to congestion." 10:42:04 10 over a local area network, correct? 10:45:09
11 Do you see that? lt A Correct.
12 A Yes. 12. Q And these nodes send data packets to the
13. Q Your publication here teaches that the 13 internet switch; is that correct?
14 Internet is a packet network, correct? 14 A Yes. In this architecture, yes.
15 A Yes. 10:42:14 15 Q And in this architecture, the Ethernet switch 10:45:21
16 Q Looking at the last sentence of the next 16 connects to the -- or communicates over the internet
17 paragraph, it says: 17 and sends data packets over the internet; is that
18 "To avoid traffic bottlenecks, 18 correct?
19 each node transmits the data blocks 19 A Right. Where it says "internet backbone
20 that it holds directly to the clients 10:42:29 20 routers," those are -- exist -- there's a connection 10:45:39
21 via RTP. Hence, each client will 21 in USC's IT building and that's -- so if we went
22 receive RTP data packets from each 22 from there to that router, then that router then has
23 server node within the cluster." 23 a direct line to the wide area internet. In this
24 Do you see that? 24 case, it was Internet2. Not the general internet,
25 A Ido. 10:42:41 25 but a similar type of network. 10:45:58
Page 66 Page 68
1 Q What is RTP? 1 Q Okay. I want to introduce Exhibit 5 here.
2 A I think it's retransmission protocol. It's a 2 Give me one second.
3 type of protocol that enables error correction. In 3 Okay, I just uploaded Exhibit 5 and marked it
4 case there are lost packets, they are re-requested 4 as Exhibit 5. Let me know when you see it.
5 before they're stitched back together to avoid 10:43:00) 5 A Isee it. 10:46:21
6 dropouts. 6 (Exhibit 5 was marked for identification
7 This was one of the big things we had to 7 electronically and is attached hereto.)
8 worry about. You don't want audio dropouts. It 8 BY MR. PAK:
9 does not make for a high-quality experience. 9 Q Do you recognize this document?
10 Q IsRTP a type of internet protocol? 10:43:12 | 10 <A Yes. It's one of my patents. 10:46:33
ii A No. I would say UDP is an internet protocol, 11 Q So you're a co-inventor of this patent,
12 User Datagram Protocol, UDP is a type of internet 12 correct?
13 protocol. And you can enable, if you will, or 13° A Yes.
14 include in it a method like RTP that provides for 14. Q And the patent number is 8,705,764, right?
15 the ability to correct errors that happen because of 10:43:4315 A Yes. 10:46:47
16 lost packets. 16 Q Atahigh level, what does this patent
17. Q Does UDP require data to be transmitted or 17 generally disclose?
18 received in the form of data packets? 18 MR. KAPLAN: Object to form.
19 A Yes. 19 THE WITNESS: We werc trying to solve a
20 Q So does RTP, right? 10:43:59 20 problem that happens when you take audio -- you 10:47:05
21 A RTP is -- it's not a transmission -- it's not 21. start with analog audio and then you digitize it
22 the same. Yes, RTP operates on packets to figure -- 22 into a high quality digital form. And then in order
23 and requests retransmission of ones that are missing 23 to store it perhaps on a portable device, one of
24 based on what it was expecting, in simple terms. 24 many different data compression algorithms are used.
25  Q Okay. So looking at Figure 1, the nodes 10:44:26] 25 MPEG being the most popular, but there are others. 10:47:30
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1 like AAC. 1 protocols.
2 The result of that compression is that the 2 To be clear, the patent is really not about
3 higher frequencies of sound that were in the 3 connecting -- it's just saying that the modules that
4 original tend to be discarded in the name of 4 we're discussing here that are going to do advanced
5 bandwidth savings. And so this patent teaches a 10:47:44 5 audio processing don't necessarily have to be inone 10:51:30
6 method to recreate the lost high frequencies using 6 device, they can be spread out, distributed. That
7 information that is in the lower frequencies that 7 was the point of that paragraph.
8 did not get discarded. 8 BY MR. PAK:
9 BY MR. PAK: 9 Q Whatis the OSI protocol?
10 Q Iwantto focus on Column 11. ItsonPDF — 10:48:04 10 A It'sa-- the best way to describe it, it's 10:51:48
1L page 21, lines -- lines 55 to 60. It's the last 11 an attempt at abstracting the individual layers that
12 sentence before the last paragraph. 12 are required in a network system all the way from
13 Could you please read those lines for me for 13 the hardware layer to the firmware to the software
14 the record. 14 that needs to run on top of it, to the physical
15 A_Is this the "Various embodiments" paragraph? 10:48:25 15 connections, in a way that provides a more uniform — 10:52:16
16 Q The sentence right above it. 16 way for people that are trying to send data over
17 A "The connectivity between the modules"? That 17 these kinds of networks without having to know
18 one? 18 exactly what type of device was there.
19 Q Yes, that one. 19 So it moves it up to be a more abstract
20 A Okay. 20 representation of the interface of the network. [10:52:34
21 "The connectivity between the 21 believe there are seven layers in it that -- in that
22 modules and/or components within the 22. stack.
23 modules may be provided using any one 23 Q Does the data that is transmitted using the
24 of the connectivity methods and media 24 OSI protocol require data packets, data transmitted
25 that is known in the art, including, 10:48:52 25 in the form of data packets? 10:53:01
Page 70 Page 72
1 but not limited to, communications 1 A Yes, it's a packet-based system.
2 over the internet, wired or wireless 2 Q Okay. I want to look at Column 9, lines 20
3 networks using the appropriate 3 to 24 of your patent. And I'm just paraphrasing
4 protocols." 4 here, but it says that the output is characterized
5 Q So it talks about communications over the 10:49:01 5 by a transfer function. 10:53:27
6 internet using the appropriate protocols. What are 6 Do you see that?
7 the appropriate protocols communicated over the 7 A ‘do.
8 internet? 8 Q What does the term "characterize" mean?
9 A It's been a little while since I've seen 9 A In this context it means that -- so we're
10 this, so just give me a second to take a look and —:10:49:18 10 talking about a system. A system has inputs and —- 10:53:43
11 put it in context. 11 outputs. And typically when you do system analysis,
12. Q Sure. Go ahead, take your time. 12 you want to find a way to describe the output in
13. A Yeah. Okay. It's all coming back. 13 terms of the input signal.
14 Q Okay. So let me re-ask the question here. 14 And so the transfer function in this context
15 What are the appropriate protocols to 10:50:17 15 says that if I have -- if] know what the amplitude 10:53:58
16 communicate over the internet? 16 level was to this box and I know what the transfer
17. A It's what we talked about before. If it's 17 function is, then I can tell you what the output is.
18 the internet as we have it today, it's TCPIP or 18 Q Do you know any words or phrases that are
19 peer-to-peer or UDP, as we just saw. 19 synonymous with the term "characterize"?
20 Q Arc there any other protocols? 10:50:39 20 MR. KAPLAN: Object to form. 10:54:17
21 MR. KAPLAN: Object to form. 21 THE WITNESS: I'm trying to think of it in
22 THE WITNESS: There are others. There's -- 22 this context, and not just generally.
23 Iet's see. OST is another one, Open System 23 What it really means here is mathematically
24 Interfaces. There are probably others I'm not 24 described. Because we're talking about this
25 remembering. There are a number of these internet 10:51:11 25 equation here. That would be the closest I can 10:54:41
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1 think of. 1 Q Okay. Let me try to introduce another
2 BY MR. PAK: 2 exhibit here.
3 Q Can you think of any other words or phrases 3 I just uploaded a new exhibit and marked it
4 that are synonymous with "characterize"? 4 as Exhibit 6. Let me know when you see it.
5 A Not off the top of my head, no. 10:54:53 5 A Isee it. 10:58:25
6 Q But "describe" would be one of the terms that 6 (Exhibit 6 was marked for identification
7 is synonymous with "characterize," right? 7 electronically and is attached hereto.)
8 MR. KAPLAN: Object to form. 8 BY MR. PAK:
9 THE WITNESS: Yeah, but I don't want to -- in 9 Q Do you recognize this document?
10 math we say mathematically described, so I would be » 10:55:11 10 A Yes, itis another one of my publications. 10:58:35
11 more comfortable keeping it that way. 11 Q The title of the publication is “High Quality
12 BY MR. PAK: 12 Multichannel Audio Over the Internet," right?
13. Q What about defined? 13. A Yes.
14 MR. KAPLAN: Object to form. {4 Q What was your contribution to this
15 THE WITNESS: Defined has a different meaning 10:55:24 | 15 publication? 10:58:51
16 tome. A definition in math or applied math means 16 <A These are two students in the center. One of
17 that you're making some assumptions and defining 17 them was in my group and the other one was in the
18 them. But that's not what is happening here. 18 networking group. And this was a paper that --
19 This is a -- an equation that has certain 19 similar to the previous one, it was trying to figure
20 elements. And so the system is characterized by 10:55:47 20 out ways to transmit high quality audio over the 10:59:0
21 this transfer function. So I think describe 21 internet.
22 mathematically is more accurate. 22 And the reason that it was an interesting
23 BY MR. PAK: 23 topic was that it was really not possible to
24 Q What if I say -- what if we change "the 24 transmit high quality audio over the internet, at
25 output is characterized by a transfer function" to 10:56:04 25 least not in the early days. And so this paper 10:59:23
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1 "the output is represented by a transfer function," 1 shows some ways of doing that.
2 would that be accurate? 2 Q Let's take a look at the abstract. The
3 MR. KAPLAN: Object to form. 3 second sentence here says:
4 THE WITNESS: I don't think so because 4 “We present a robust scalable
5 "represented" to me means it's not the thing, but 10:56:29 5 architecture for delivering 10:59:44
6 it's being represented by something else. And 6 uncompressed multichannel audio over
7 that's not technically correct here. This H 7 high bandwidth ATM networks."
8 function is the function. 8 Do you see that?
9 BY MR. PAK: 9 A Ido.
10 Q What if you say “the output indicates a 10:56:42 | 10 Q Isan ATM network a type of data network? —-10:59:54
11 transfer function," would that be incorrect? 11 A Yes.
12. A No. That would be something completely 12 Q Is that because an ATM network carries data?
13 different and it would indicate that there might be 13. A Actually, I should revise it.
14 an output or something, but that's not -- this is a 14 ATM network is a -- is a protocol for
15 deterministic system, and so no. 10:57:00 15 transmitting data over data networks. It stands for 11:00:10
16 Q Well, looking at the equation here, the 16 Asynchronous Transfer Mode, so it's a method of
17 output Y equals the transfer function times the 17 transmitting data over networks, over data networks.
18 sinusoid input, S-I-N-U-S-O-I-D. 18 Q Soan ATM network is not an actual network,
19 So the output function here indicates the 19 it's a protocol; is that right?
20 transfer function and the sinusoid input, right? 10:57:35} 20. A_ Right. There's a -- there's a network 11:00:29
21 A No. 21 architecture that has connectors and switches and
22 Q It provides some kind of indication of it? 22 things that have to support the ATM protocol in
23. A No, no. This is a way to calculate the 23 order to have an ATM network of devices.
24 output function. So it is calculated by multiplying 24 Q Okay. Looking at the abstract, it says:
25 the transfer function with the complex sinusoid. 10:57:58 25 “Performance results from our 11:00:52
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1 implementation on a high-speed local 1 screens, do this, change that, let's try this
2 area ATM network are presented that 2 exercise. And so it's hard to break it up into an
3 identify the effects of audio packet 3 individual.
4 size, buffering, and network latency 4 BY MR. PAK:
5 on the quality of multichannel program 11:01:05 5 Q Yeah, understood. 11:04:04
6 material." 6 So how about maybe -- let's take a look at
7 Do you see that? 7 the last page, PDF page 6, and there's an
8 A Ido. 8 acknowledgment section. It says:
9 Q Soisa high-speed local area ATM network a 9 "The authors would like to thank
10 network protocol or a data nctwork? 11:01:16 10 Dr. Sherali Zeadally" -- 11:04:18
11 A No. This is -- this sentence is kind of 11 I might be botching that name.
12 conflating to me. It's a local area network running 12. A No, that's all right.
13 the ATM protocol for purposes of this experiment. 13. Q So let me read it again.
14 Q Gotit. 14 "The authors would like to thank
15 A_ So it requires different hardware. ATCP — 11:01:32 15 Dr. Sherali Zeadally for his work in 11:04:30
16 local area network would require a different 16 its design and implementation of the
17 hardware than an ATM protocol local network. 17 ATM network."
18 Sometimes they can be in the same box, but usually 18 Do you see that?
19 it's different. 19 A Ido.
20 Q So your publication here is talking abouta 11:01:48 20 Q So Dr. Zeadally is the one who actually 11:04:39
21 local area network that uses the ATM protocol; is 21 designed and implemented the local area network that
22 that correct? 22 uses the ATM network described in this publication,
23. A Right. 23 correct?
24 Q Did you design and implement the local area 24 A Well, so he was a collaborator on this. The
25 network that uses this ATM network described in this 11:02:04 | 25 second author in the paper was a joint student,so 11:04:54
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1 publication? 1 he was -- Mr. Zhu was Dr. Zeadally's student.
2 A _ Tfyou look in Figure | of the next page, 2 Dr. Zeadally's lab was doing experiments with ATM
3 this is a similar simpler diagram than -- compared 3 networks, and they had the infrastructure that we
4 to the one that we saw before with the RMI network. 4 were looking for in terms of switches and the right
5 So we designed this architecture or this set 11:02:28 5 cables and so on. 11:05:17
6 of components that are all off-the-shelf audio 6 So I think this is kind of -- because he
7 parts, and you can see the ATM adapter inside the 7 wasn't part of this particular experiment, he is not
8 computer that allows you to put out onto the network 8 aco-author, but we used his lab where he had kind
9 data that follows the ATM protocol. And then 9 ofa tabletop network for us to experiment with
10 there's the playback application on the top. 11:02:54 10 these protocols. 11:05:34
ll So, yeah, we designed this architecture, but 11 Q Okay. I want to take a look at PDF page 3.
12 it consists of computers and switches and wires that 12 And there's a header 3 that says, "Experimental
13 are off the shelf and software that we put inside it 13 Results".
14 to do what we -- to run this experiment. 14. A Yes.
15. Q And when you say that "we designed," are you 11:03:09 15 Q Could you read the first two sentences under 11:05:51
16 saying that you designed the network described in 16 that header?
17 Figure 1, for example? 17, A Yes.
18 MR. KAPLAN: Object to the form. 18 "Yn order to assess the effects
19 THE WITNESS: The way collaborative papers 19 of packet size and buffer size on the
20 work is this is a group, you know, we have group 11:03:31 20 quality of the audio streams 11:06:01
21 mectings. We designed the experiment and then have 21 transmitted through the network, as
22 regular kind of intervals of mecting and discussing. 22 well as on the delay introduced by the
23 So if you're asking who designed each 23 system, we performed a series of
24 individual part, it's hard to say because we had 24 tests."
25 joint code sessions where we all sat in front of the 11:03:53 25 The next one as well? 11:06:13
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| Q You know, that's fine. 1 Science Foundation.
2 A Okay. 2 It's related to an experiment that we did
3 Q So this publication discloses a system 3 with the New World Symphony based in Miami. And it
4 architecture in which data packets are transmitted 4 was similar to the RMI experiment trying to --
5 over a local area network that uses the ATM 11:06:25 5 trying to deliver high-quality performance thatis 11:09:51
6 protocol; is that correct? 6 convincing you to feel like you're in the concert
7 A’ Well, this publication was not intended to 7 hall with them, even though you are 3,000 to 4,000
8 disclose the architecture. It was more intended to 8 miles away.
9 use the architecture to experiment with what needs 9 We actually demonstrated this live to an
10 to be changed or fixed or, you know, what matters in 11:06:39 10 audience of several hundred people. It was the 11:10:1
11 high-quality audio transmission over a network that 11 first time that it had ever been done at that scale.
12 has the bandwidth and the architecture that could 12 BY MR. PAK:
13 enable it. We just didn't know what the right 13. Q This publication talks about HYDRA. It's
14 architecture was for transmitting audio in terms of 14 abbreviation for high resolution live streaming.
15 the buffer size and packet sizes, and so on. 11:06:56 15 What is HYDRA? 11:10:26
16 So it was more of an experimental paper that 16 A So HYDRA was -- Professor Zimmerman that you
17 uses a network architecture based on the ATM system 17 see there at the top, his laboratory and his
18 that was kind of local to us there so we could 18 research group was experimenting with using similar
19 change things in it, 19 things that we talked about before using the UDP
20 Q Allright. So the publication describesa 11:07:09 20 protocol with error correction to deliver 11:10:52
21 local area network that uses the ATM protocol to 21 high-quality content and overcome the problems that
22 transmit data packets, right? 22 normally arise with traditional ways of doing that,
23 MR. KAPLAN: Object to form. 23 for example, TCP, which were not designed for
24 THE WITNESS: The publication describes an 24 streaming media. They were designed for offline --
25 experiment that was conducted on the system we just 11:07:24 | 25 it's okay if you can wait a second before you get = 11:11:13
Page 82 Page 84
1 described. 1 your e-mail, but you can't wait to get the next
2 BY MR. PAK: 2 audio packet, right? So that's what HYDRA is. It
3. Q Can you send data over a local area network 3 was trying to do that.
4 using the ATM protocol in the form of data that is 4 Q Okay. And I want to take a look at the
5 not a data packet? 11:07:51 5 second section, the Statement of Project Goals. And 11:11:27
6 A No. The ATM protocol is a packet-based 6 in the middle of that section, the publication says:
7 protocol. 7 "This project focuses on the
8 Q Okay. I want to introduce another exhibit 8 design of a system that enables HD
9 here, so just give me a minute. 9 quality video and multiple channels of
10 Okay. I just introduced Exhibit 7. Let me 11:08:45 10 audio to be streamed across an 11:11:43
11 know when you see it. ll IP-based network with commodity
12. A Isee it. 12 equipment."
13 (Exhibit 7 was marked for identification 13 Do you see that?
14 — electronically and is attached hereto.) 14. A Sorry. The middle section -- I missed where
15 BY MR. PAK: 11:08:51 15 you pointed. 11:11:52
16 Q Do you recognize this document? 16 Q Yeah. So in the middle of Section 2,
17 A Yes. 17 Statement of Project Goals --
18 Q Ata high level, what docs this publication 18 A Oh, yes. I sce it.
19 describe? 19 Q Okay. What is an IP-based network as
20 MR. KAPLAN: Object to form. 11:08:58 20 described in this publication? 11:12:06
21 THE WITNESS: I don't know if this was an 21 A _ It's an internet protocol based network,
22 actual publication. This was more of an internal -- 22 which is kind of a very common type of protocol for
23 more kind of like a white paper. I don't remember 23 transmitting data over the internet.
24 the origin of it. It could be part of a report that 24 Q Okay. And the second page here, Section 4,
25 was presented to the annual review by the National 11:09:14 25 the second to last paragraph -- second sentence -- 11:12:30
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1 second to last sentence in the first paragraph, it 1 Q This is another one of your publications,
2 says: 2 correct?
3 "The transmission subsystem uses 3 A Yes.
4 the Realtime Transport Protocol, RTP, 4 Q What does this publication describe?
5 on top of the Universal Datagram 14:12:45 5 MR. KAPLAN: Object to form. 11:15:51
6 Protocol, UDP." 6 THE WITNESS: This is another one of the same
7 Do you see that? 7 kind of sequence of experiments we've been
8 A Yes. 8 discussing, which is high fidelity picture and sound
9 Q So this publication is talking about an 9 transmitted in a synchronized way over the Internet2
10 IP-based network that uses UDP; is that right? 11:12:55 10 in this case. This particular onc was trying to —-11:16:08
11 A _ That's right. Those are subsets of an 11 understand what happens when you have an interactive
12 IP-type network, just as TCP is. 12 section.
13. Q TI want to take a look at the system 13 So it's one way to stream in one direction to
14 architecture shown on Figure | of that page. 14 an audience far away. It's another way when you
15 A Yes. 11:13:14 15 need to have two-way communication. Because in this 11:16:27
16 Q Do you see the stream transmitter/receiver in 16 example, we had two musicians and they are supposed
17 the figure? 17 to play a piano piece together, each on their own
18 A Yes. 18 piano. And musicians require, of course, very
19 Q What does the stream transmitter/receiver do? 19 accurate timing between them in order to perform.
20 <A That's -- that's a piece of software that’s 11:13:25 | 20 So by adjusting -- artificially adjusting the 11:16:44
21 kind of like the core of the HYDRA system. It takes 21 delay between the two of them is what -- how they
22 in multiple channels of microphones in this example 22 would hear the other side. And we were looking for
23 ofa live recording, multiple cameras, and kind of 23 what the limits are of human performance over
24 packages them together to send over the network by 24 networks.
25 paying attention to things that we talked about 11:14:03) 25 “///
Page 86 Page 88
1 before, error correction and other things. 1 BY MR. PAK:
2 Q What is the form of data that is transmitted 2 Q I want to take a look at the first paragraph
3 or received over the IP-based network disclosed in 3 on the right column of page |. After the first
4 this system architecture? 4 sentence, it says:
5 A Well, it's what it says on the line above RTP 11:14:19 5 "Network latency is an
6 over UDP. 6 unavoidable fact of interaction
7 Q Right. So this system architecture is 7 environments over the Internet."
8 designed to transmit or receive data packets, right? 8 Do you see that?
9 A Well, it's using an existing network that is 9 A Yes.
10 based on data packets. 11:14:38 10 Q What is network latency? 11:17:22
11 So we had to take the data that is coming in 11 A It's the amount of time it takes for
12 in different forms, audio and video, and convert it 12 information that was sent from one side of the
13 to match what the network expects, in this case, 13 network and how long it takes to be received at the
14 data packets. 14 other side. It is not instantaneous and it depends
15  Q Okay. I want to introduce another exhibit — 11:14:53) 15 on distance usually. That's what we call latency. 11:17:39
16 here. Just give me one minute. 16 Q Why is network latency an unavoidable fact of
17 Okay, I just uploaded a new exhibit and 17 the interaction environments over the internet?
18 marked it as Exhibit 8. 18 A Because of the protocols that are in place
19 (Exhibit 8 was marked for identification 19 that have becn created to ensure, for example, that
20 electronically and is attached hereto.) 11:15:27 20 data isn't lost. Sometimes that takes longerto ——-11:18:04
21 BY MR. PAK: 21 make sure that it's all collected before it's
22 Q Letme know when you see it. 22 presented to the other sidc. That's one reason.
23. A Isee it. 23 The other reason is every time you go -- it's
24 Q Do you recognize this document? 24 nota direct connection between two distant places.
25 A Yes. 11:15:39 25 You go through switches on the network. And so 11:18:22
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23 (Pages 86 - 89)
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1 switches also, as they pass the data through, 1 In this case, because this was an Internet2
2 introduce delay in order again to avoid -- because 2 experiment, we had to convert it to the UDP style --
3 they're doing something to make sure not to lose 3 the IP-type packet based form so that we could use
4 anything. So the connection of all these boxes 4 that network.
5 introduces some delay. 14:18:37 5 And then the opposite procedure happens at 11:21:23
6 It's not that dissimilar from an analog 6 the other end. We can't experience packets. We can
7 network over long distances. Audio doesn't travel 7 experience picture and sound. So we have to convert
8 at the speed of light. The longer the cable is -- 8 it back.
9 it has to be pretty long, but you see delays in 9 © So once data is converted from analog to
10 analog circuits as well. 11:18:53 10 digital and sent over the internet, that data has to 11:21:35
11. Q When you say "switches" on a network, are you 11 take the form of packets; is that right?
12 talking about packetized -- packet-based network 12 A If we're going to use an internet -- existing
13 switches? 13 internet infrastructure, yes.
14 A In this case we're talking about the 14. Q Okay. I want to take a look at Figure 1
15 internet, so that is a packet-based system, yes. 11:19:06 | 15 shown on PDF page 2. 11:22:02
16 Q Okay. And the bottom of PDF page 1 under 16 A Okay.
17 subsection "Low Latency Audio," it says: 17 Q And the top of Figure 1 says:
18 "The challenges in transmitting 18 "Data sources produce packetized
19 audio over the internet are packet 19 realtime data streams."
20 loss and fluctuations in transmission 11:19:24 20 Do you see that? 11:22:16
21 time." 21 A Yes.
22 So, you know, is packet loss, you know, 22 Q Whatare the data sources in Figure 1?
23 inevitable in a system that communicates over the 23. A Allkinds of multimedia capturing devices.
24 internet? 24 Camera, microphones -- cameras, microphones, in this
25 MR. KAPLAN: Object to form. 11:19:42 | 25 case haptic sensors. 11:22:38
Page 90 Page 92
1 THE WITNESS: Inevitable? There are ways to 1 Q So data from these data sources are
2 mitigate it, and trade-offs. So you could make it 2 first converted to digital form, right, and then
3 not happen at all. If you were okay incurring more 3 sent in packets over the internet; is that correct?
4 latency, just wait longer for everything to arrive. 4 MR. KAPLAN: Object to form.
5 But that's the trade-off. So ina realtime system — 11:19:59 5 THE WITNESS: Yes. Yes. That's what those 11:23:08
6 where you don't have the luxury of waiting, they are 6 little rectangles are trying to indicate, that data
7 inevitable in that sense, yes. 7 has been packetized in realtime using RTP, as it
8 BY MR. PAK: 8 says there.
9 Q Okay. But when we talk about devices that 9 BY MR. PAK:
10 communicate over the internet, we're talking about 11:20:20 10. Q Okay. You know, I'm going to start 11:23:26
11 devices that send or receive data in the form of 11 transitioning over to discussing your declaration.
12 data packets, right? 12 So why don't we take a ten-minute break.
13. A Well, in that diagram, the two end devices, 13 Is that okay?
14 the one at Diagram 1 we were talking about, is 14. A Sure.
15 that -- I'm sorry. That was in the previous 11:20:38 15 THE VIDEOGRAPHER: Off the record at 11:23:34
16 example? Yes, it was. Let's see if it's here as 16 11:23 a.m.
17 well. 17 (Recess.)
18 The devices that connect to the internet, 18 THE VIDEOGRAPHER: We are on the record at
19 let's say the computer that connccts fo the internet 19 11:36 a.m.
20 on the sending side takes in analog data fromthe — 11:20:53 20 BY MR. PAK: 11:36:18
21 rcal world, converts it first to digital, and then 21 Q Dr. K., you submitted a declaration on
22 it has to convert it to a form -- you know, if we're 22 June 1, 2021, for this matter between Sonos and
23 doing this experiment over a different kind of 23 Google, correct?
24 network, we'd have to convert to whatever that 24 A Correct.
25 network expected. 11:21:11 25 Q You were retained as an expert to offer 11:36:35
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1 opinions on claim construction related to the 1 observation purposes.
2 asserted patents in this case, right? 2 BY MR. PAK:
3. A Yes. 3. Q Did you consider any other material to
4 Q When were you contacted to offer your 4 prepare your declaration?
5 opinions for claim construction related to the 11:36:46} 5 A Other than what I mentioned, no. 11:39:51
6 asserted patents? 6 Q Allright. I'd like to introduce your
7 MR. KAPLAN: Object to form. 7 declaration here now as Exhibit 9. I marked it as
8 THE WITNESS: Specific to claim constriction, 8 Exhibit 9 and uploaded it. So just let me know when
9 the discussions probably started a month ago, I'm 9 you see it.
10 guessing. 11:37:01 10 A Iseeit. I just wanted to ask you a 11:40:36
11 BY MR. PAK: 11 question. I have a clean copy of the -- from the 28
12 Q So you were -- were you first contacted to 12 pages of the part that I wrote on my desk.
13 offer opinions on claim construction in May; is that 13 Sometimes it's easier to go to a page that way than
14 correct? 14 it is -- ifthat's okay with you, I have it right
15 MR. KAPLAN: Object to form. 11:37:13 | 15 here. It's not marked. It's just a clean printout. 11:40:49
16 THE WITNESS: Again, I don't have the dates 16 (Exhibit 9 was marked for identification
17 in my head. It was after I was retained for the 17 electronically and is attached hereto.)
18 case, obviously, but sounds about right. It could 18 BY MR. PAK:
19 have been in April. 19 Q Yeah, that's okay.
20 BY MR. PAK: 11:37:26 20 Can you look at the last page of your 11:40:53
21 Q Okay. Were you informed of what each party's 21 declaration or PDF page 28 of Exhibit 9.
22 construction was at the time? 22 A Yes.
23. A At the time -- I was eventually, but not at 23 Q Is that your signature?
24 the time, no. 24 A It's my electronic signature, yes.
25  Q What did you do to prepare for your 11:37:45 |25 Q I forgot to ask you, is this a true and 11:41:17
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I declaration? 1 correct -- true and accurate copy of your
2 A tread the patents. IT read through the 2 declaration submitted June 1, 2021?
3 patent office -- office actions. Some of the prior 3 A Yes, it is.
4 art. That's basically it. And then used knowledge, 4 Q Okay. And the opinions set forth in this
5 my experience in the field to help form my opinions. 11:38:12 5 declaration are yours, correct? 11:41:32
6 Q Did you consider the cited references in 6 A Yes.
7 the -- did you consider the cited references in the 7 Q To date, this is the only declaration that
8 office actions? 8 you submitted in this case, correct?
9 A Oh, the office actions. 9 A That's right.
10 I'm trying to remember. I read through a lot 11:38:36 10 Q Your declaration is as accurate and complete 11:41:42
11 of documents. I don't know if that -- for sure. I 11 as you could reasonably make it, correct?
12 tried to be as complete as possible. I don't know 12. A Yes. There's a minor copy and paste problem
13 if I did or not. Probably. 13 that happened that I saw last night, but other than
14 Q Do you understand that Sonos's experts, 14 that, yes.
15 Dr. Almeroth and Dr. Schmidt, submitted declarations 11:38:59 15 Q Okay. And where is that copy and paste 11:42:02
16 on claim construction in this case? 16 error?
17 A Yes. 17. A_ It's on page 13. Claim terms. Part A is
18 Q Did you read Dr. Almcroth's declaration? 18 zone configuration and part B should be just group
19 A Idid. 19 configuration. But initially [ had them both
20 Q Did you read Dr. Schmidt's declaration? 11:39:14 20 together in one table and then I split itup. So B 11:42:26
21. A_ I believe IJ did. 21 should be just group. That's it.
22 MR. PAK: And, you know, just for the record, 22 Q Is that the only error you see in your
23 J just noted Dr. Schmidt is actually on this Zoom 23 declaration?
24 call. So J just wanted to point that out. I think 24 A That's all II saw, yes.
25 he joined a little bit late, but he is just here for 11:39:37 25 Q So let's walk through your declaration. 11:42:42
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1 Section 2, paragraphs 8 through 13, sets 1 this matter, correct?
2 forth your qualification as an expert, correct? 2 A Right.
3. A Yes, 3. Q Section 7, paragraphs 37 all the way through
4 Q And Section 3, paragraphs 14 to 22, sets 4 the end to paragraph 76, sets forth your analysis
5 forth your understanding of various legal standards 11:43:00 5 regarding some of the parties’ disputed claim 11:45:48
6 related to claim construction; is that fair? 6 construction terms in this matter, correct?
7 A That's correct. 7 A Yes,
8 Q Inreaching your opinions set forth in your 8 Q And specifically paragraphs 37 to 48 provide
9 declaration, did you apply the legal standards set 9 your analysis regarding the terms "zone
10 forth in Section 3? 11:43:16 10 configuration" and "group configuration," correct? 11:46:02
11 A Yes. To the best of my ability, I did. li A Correct.
12. Q Okay. Scction 4, paragraphs 23 to 29, sets 12. Q Paragraphs 39 through 53 provide your
13 forth your overview of the asserted patents, 13 analysis regarding the term "local area network,"
14 correct? 14 correct?
18S A Yes. 11:43:30 15 A 39? 11:46:18
16 Q Subsection A -- in subsection A, you provide 16 Q Goahead. Sorry. Let me repeat that.
17 an overview of what you call the direct play 17 Paragraphs 49 through 53 provide your
18 patents, correct? 18 analysis regarding the term "local area network,"
19 A Yes. 19 correct?
20 Q According to subsection A, the direct play 11:43:50 20 A Yes. 11:46:38
21 patents share a common specification, correct? 21. Q And paragraphs 54 to 59 provide your analysis
22 A Yes. 22 regarding the term of "media particular playback
23, Q Atsubsection B you provide an overview of 23 system," correct?
24 what you call the zone scene patents, correct? 24 A Yes.
25 A Right. 11:44:14 25 Q Paragraph 60 to 73 provide your analysis 11:46:59
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1 Q According to this section, the zone scene 1 regarding the term "data network," correct?
2 patents include the '206, ‘966, and '855 patents, 2 <A Correct.
3 correct? 3. Q And, lastly, paragraphs 74 to 76 provide your
4 A Yes. I just want to point out these names 4 analysis regarding the term "wherein the instruction
5 were provided to me and I believe they were -- these 11:44:31 5 comprises the instruction," correct? 11:47:18
6 are the Sonos designations. I'm not a hundred 6 A Right.
7 percent that's -- the groupings of the patents were 7 Q So we just walked through your declaration
8 provided this way. 8 here. Do you have any other changes besides that
9 Q When I -- if 1 refer to certain patents as 9 copy and paste error that you would like to make to
10 direct play patents or zone scene patents, you 11:44:46 10 your declaration? 11:47:33
11 understand what I mean by those terms? ll A No.
12 A Yes. 12 Q So how about we jump to paragraph 24. It's
13. Q Okay. 13 on page 9 of your declaration.
14. A Ido. 14. A Okay.
15 Q According to subsection B, the '206 patent 11:44:52 15 Q Okay. Paragraph 4 -- paragraph 24 says: 11:47:54
16 specification is substantially the same as the '966 16 "Each of the zone scene patents
17 and the '855 patent specifications, correct? 17 originated with U.S. provisional
18 A Yes. 18 application number 60/825,407, which
19 Q Okay. Moving on to section 5, paragraphs 30 19 was filed on September 12, 2006."
20 to 34, those paragraphs set forth your opinions 11:45:14 20 Do you see that? 11:48:14
21 regarding the level of ordinary skill in the art, 21 A Yes.
22 correct? 22. Q Now, let's take a look at paragraph 28 on the
23 A Correct. 23 next page.
24 Q Then Section 6, paragraphs 35 and 36, sets 24 A Isee it.
25 forth your understanding of the asserted claims in 11:45:28 25 Q Actually, if you go to the bottom of page 11, 11:48:34
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1 it says: 1 Q Could you please describe how the Bose
2 "In my experience, at the time 2 Lifestyle system operates?
3 the Zone Scene patents were filed, 3. A Ithas the main -- I guess [ would call it a
4 multi-zone audio systems existed from - 4 processing box where you connect your audio sources.
5 a variety of manufactures, such as 11:48:45 5 So it acts as a source selector. That box provides 11:52:03
6 Bose, Crestron, and others." 6 outputs that go to amplifiers in it as well and
7 Do you see that? 7 provides outputs that interconnect the loudspeakers.
8 A Yes. 8 In that case I believe it was a 5.1 surround system.
9 Q Do you know any specific conventional 9 And it has an additional -- J don't know what they
10 multi-zonc audio systems that existed at the time 11:48:58 10 call it -- breakout box that allows you to extend to 11:52:22
11 the zone scene patents were filed? 11 a different room and still be controlled by the main
12. A Arc you saying other than the oncs I listed 12 controller. And also it had a remote control.
13 here? 13. Q How do the loudspeakers interconnecting to
14. Q Well, you've listed manufacturers, right? 14 that central box communicate with the controller,
15 But do you know any actual product names or model ‘11:49:11 | 15 the remote controller? 11:52:51
16 numbers? 16 A_ The remote controller sends signals over a
17. A Oh, product names. Let's see if I can recall 17 wireless link to the main box, I guess main
18 any. 18 processor. And then it tells, you know, what each
19 The Bose one I think was called a Lifestyle. 19 speaker should be playing over the wired
20 I'd have to look it up. 11:49:28 20 connections. 11:53:18
21 Crestron -- Crestron makes hardware and 21. Q Do the loudspeakers connected to the central
22 software for multi-room installations, whether it's 22 box communicate with one another?
23 board rooms or homes. I don't know if they have a 23. A With one another? No. The central processor
24 specific product name. But normally there's others. 24 decides what to send to each one.
25 A lot of the home theater receiver manufacturers, 11:49:55 25 Q In the Bose Lifestyle system can you 11:53:40
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1 such as Denon -- I know that one because that was 1 synchronize the loudspeakers to play audio in
2 the first product that Audyssey went into when we 2 synchrony?
3 first started. {t was the AVR5805, and many others 3 A Yes.
4 after that. They all provide connectors and 4 Q How does the Bose Lifestyle accomplish that?
5 mechanism to have multiple zones of audio in your —- 11:50:19 5 A That's a Bose method inside their own 11:54:05
6 home. 6 processor. Let's just say it wouldn't be a very
7 Initially there was two and eventually more 7 successful product if they played out of synchrony.
8 than two, perhaps three or four. Yamaha, Marantz, 8 It would be a terrible audio system.
9 Onkyo, many of those had those. 9 Q Right. But the loudspeakers don't
10 Q Have you ever used a Bose Lifestyle system? 11:50:40 10 communicate with each other, right? So how do they 11:54:25
11 A Ihave, yes. 11 coordinate with one another to play audio in
12, Q Do you know -- do you know which Bose 12 synchrony?
13 Lifestyle system you used? 13. A Because the central processor that is
14 A_ It's been so many years, so I don't remember 14 deciding what to send, what signal stream to send to
15 the model number. 11:51:08 15 each one makes sure that they are transmitted over — 11:54:38
16 Q Does the Bose Lifestyle 50, does that ring a 16 each connection in the required synchrony.
17 bell? 17 Q When you say "the central processor," you're
18 A_ Possibly, but I don't remember. 18 talking about the central device that interconnects
19 Again, this was onc of the situations where 19 the loudspeakers, correct?
20 we brought it into the testing lab at Audyssey just 11:51:25 20 A Right. That has a processor init andit's 11:54:58
21 to look at things. So paid less attention to the 21 responsible for a number of things, simple things
22. model number than what it could do. 22 like adjusting volume in response to commands that
23 Q Do you recall how the Bose Lifestyle system 23 it receives. Perhaps decoding audio formats from
24 operates? 24 the sources that are coming in. And then
25 A Atahigh level, sure, yes. 11:51:41 25 distributing the audio over the interconnect. 11:55:16
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1 Q So the loudspeakers communicate with the 1 communicate over a local area network?
2 central processor, right, but they don't communicate 2 A Based on what I said this morning, that is a
3 with one another directly, correct? 3 focal area network. It's analog data going to --
4 MR. KAPLAN: Object to form. 4 being carried over copper wires to end devices.
5 THE WITNESS: The loudspeakers receive data 11:55:35 5 Q Okay. And this Bose Lifestyle system was 11:59:06
6 from the central processor, but they don't 6 unable to -- incapable of communicating over the
7 communicate with each other. 7 internet; is that right?
8 BY MR. PAK: 8 MR. KAPLAN: Object to form.
9 Q Okay. So what -- what cables are required to 9 THE WITNESS: Because I don't remember the
10 interconnect the loud speakers to the central box or 11:55:57 10 model, I'm not sure if this -- if you could stream = — 11:59:35
11 the central processor of the Bose Lifestyle system? 11 to it. It could connect to a number of sources. |
12. A These are provided by Bose. They are copper 12 just don't recall if one of them could be a wireless
13 cables and they have RCA-type connections at the end 13 source.
14 ofeach side of the cable. 14 BY MR. PAK:
15 Q Do you know if the Bose Lifestyle system can 11:56:31 15. Q Do you know when you used this Bose Lifestyle 11:59:52
16 communicate over Wi-Fi? 16 system?
17 A I'msure they have models that can. That 17. A_ Probably seven or eight years ago.
18 particular one I don't think did. 18 Q So sometime in 2013, 2012 you used this Bose
19 Q So the loudspeakers are internet connected to 19 Lifestyle system?
20 the central processor or central box, right? What 11:56:59 20 MR. KAPLAN: Object to form. 12:00:13
21 is the form of data that is transmitted between the 21 THE WITNESS: To the best of my recollection.
22 loud speaker and the central processor? 22 BY MR. PAR:
23 MR. KAPLAN: Object to form. 23 Q Do you know when this Bose Lifestyle system
24 THE WITNESS: It's analog audio data. 24 was released?
25 tlt 25 MR. KAPLAN: Object to form. 12:00:23
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1 BY MR. PAK: 1 THE WITNESS: I know that their Lifestyle
2 Q Does it have to be analog audio data? 2 series was released well before that. I just -- and
3 MR. KAPLAN: Object to form. 3 they have more than one model. So that was probably
4 THE WITNESS: In general or in that product? 4 current at the time when we looked at it, but I
5 BY MR. PAK: 5 don't know. 12:00:42
6 Q In that product. In that product when a 6 BY MR. PAK:
7 loudspeaker communicates to the central processor or 7 Q But this is the model of Bose Lifestyle
8 the central box, does it send analog data or digital 8 system that included a remote control, you said; is
9 data? 9 that right?
10 A _ Itsends analog data because the amplifiers 11:57:42,10 A Yes. 12:00:50
11 are inside that same box where the processor is. So li Q Could you describe what this remote control
12 the output of the amplifier is using analog audio 12 did in the Bose Lifestyle system?
13 signals sent to each speaker. 13. A The obvious things. Selecting the source --
14 Q So in that product, in that Bose Lifestyle 14 again, this is a bit of a long time ago, but I think
15 system, the loudspeakers are not sending data 11:57:59 15 it was change the volume and select the room. | 12:01:1
16 packets to that central processor, correct? 16 think they call it multi-room in the manual or in
17 MR. KAPLAN: Object to form. 17 the Bose language. So select which room you want
18 BY MR. PAK: 18 the music to play in or if it was all rooms.
19 Q Sorry. Did you say "correct"? 19 That's my basic recollection. There might
20 A _ Yes, correct. 11:58:17 20 have been other things too, but I just don't 12:01:42
21 Q Okay. Do you know if the Bose Lifestyle 21 remember.
22 system communicated over a local area network? 22. Q Do you know what the Bose Lifestyle system
23. A Communicated with what? 23 remote control looked like? Like what shape it
24 Q Do you know if the loudspeakers 24 might have been in?
25 interconnected to the central processor could 11:58:38) 25 MR. KAPLAN: Object to form. 12:02:01
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1 THE WITNESS: It had a screen -- it hada I today, but basically data networks. It's -- I guess
2 screen in front of it. It might have been 2 in -- at least at USC, J think the -- it's an area
3 rectangular or oval. I'm stretching my memory. 3 that is studied called information networks. So I
4 BY MR. PAK: 4 think it's just different terminology for data
5 Q TLunderstand. I know it's 17 years ago. I 12:02:21 5 networks. 12:04:42
6 was just curious. 6 Q Ate you using the term "information networks"
7 I want to move to paragraph 31 of your 7 to be synonymous with "data networks"?
8 declaration. It's talking about the level of 8 A In this paragraph, yes.
9 ordinary skill in the art. Could you please read 9 Q So an information network is any type of
10 paragraph 31 of your declaration. 12:02:32 10 media that carrics data, right? 12:05:00
I} A Yes. 11. A Well, I don't know if it's -- like if you go
12 "In my opinion, a person of 12 to a network engincer and ask them what an
13 ordinary skill in the art at this time 13 information network is, that's the answer you would
14 would have had a bachelor's of science 14 get. This is more of an academic field that I was
15 in electrical engineering, computer 12:02:42 15 referring to just because I know there are courses 12:05:17
16 science or engineering, or a related 16 listed that way.
17 field, and two to four years of work 17 So I don't know if it's a physical thing. I
18 or research experience in the field of 18 was just referring to it as a field of study.
19 information networks, data 19 Q What does the field of data communications
20 communications or multimedia systems, 12:02:52 20 include? 12:05:33
21 or a master's degree and one to two 21 <A Protocols for communication for exchanging
22 years of experience in the same 22 data. Error correction, anything to do with
23 field." 23 handling of data, analog or digital.
24 Q Does that mean a person of ordinary skill in 24 Q What are multimedia systems?
25 the art can be someone with a master's degree in any 12:03:02 25 A Multimedia systems are generally considered 12:06:01
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1 field and one to two years of experience in the 1 processing systems with processing that can handle
2 fields of information networks, data communications, 2 multiple types of media, such as pictures, video,
3 or multimedia systems? 3 audio, voice, text, haptics, all the ones that we
4 A No. What! meant is a master's degree in the 4 talked about earlier.
5 areas that I listed for the bachelor's. 12:03:19 5  Q What about an audio system that only renders 12:06:38
6 Q Okay. So what you -- what you meant was a 6 audio, is that a multimedia system?
7 master's degree in electrical engineering, computer A Anaudio system that can't handle anything
science, or engineering, and one to two years of 8 else?
9 experience in the fields of information networks, 9 Q Yes.
10 data communications, or multimedia systems; is that 12:03:34 10 A No. [would say no. Multi in multimedia 12:06:53
11 right? 11 requires more than one.
12. A Correct. 12. Q So ifa person has a -- sorry, I didn't mean
13° Q Okay. So as it is written right now in 13 to cut you off.
14 paragraph 31, the way it's written is incorrect, 14. A T'm fine. I'm done.
15 right? 12:03:47 1S Q Ifaperson has a bachelor's of science in 12:07:06
16 MR. KAPLAN: Object to form. 16 electrical engineering and only has experience in
17 THE WITNESS: Well, I don't know if it's 17 audio systems that only render audio, but not any
18 incorrect. I mean, I didn't want to repeat. I know 18 other type of media, then that person would not
19 that's probably customary in legal documents, but I 19 qualify as a person of ordinary skill in the art,
20 thought it was obvious that it was referring to for 12:04:02 20 correct?
21 bachelor's, you get your master's in the same 21. A No, I don't agree. I think if somebody has
22 ficlds. 22 studied multimedia systems as part of their field of
23 BY MR. PAK: 23. study, they have also studied audio and other
24 Q And what are information networks? 24 things. So if you have taken courses in multimedia
25. A We've talked about all kinds of examples 12:04:14 25 systems, you certainly have taken courses in just 12:07:49
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1 audio, similar to the ones that I teach, or just | times. Computer games. More boring ones like
2 speech like my colleagues teach, or just video, and 2 PowerPoint presentations with audio or video
3 also the integration of them. So it comes with 3 embedded in them. Anything that has more than two
4 everything. 4 media. Or two or more, I should say.
5 Q You know Sonos is a speaker company, right? 12:08:00 5 Q Isa multimedia system that can render two or 12:11:11
6 A Yes. 6 more types of media other than audio, would that
7 MR. KAPLAN: Object to form. 7 qualify as a multimedia system?
8 BY MR. PAK: 8 A Sure.
9 Q Soifa person who works at Sonos has a 9 Q Soifa person has experience in implementing
10 bachclor's of science in electrical engineering and 12:08:14 10 and designing multimedia systems that don't render — 12:11:38
11 has experience in working on speaker systems that 11 audio but other types of media, is it your opinion
12 render audio but don't render video or any other 12 that that person would qualify as a person of
13 type of media, docs that person still qualify as a 13 ordinary skill in the art?
14 person of ordinary skill in the art? 14. A I'msorry. Could you repeat that one more
15 A_ That's kind of a hypothetical question. I'd 12:08:39 1S time? 12:11:50
16 have to meet that person and find out what their 16 Q Yeah. So ifa person has experience in
17 experience was to really answer that. I don't know 17 implementing or designing a multimedia system that
18 what courses they took or what experience they had 18 doesn't render audio but renders other types of
19 prior to Sonos. 19 media, is it your opinion that that person would
20 Q WhatI'm trying to get at here is the word — 12:08:47 20 qualify as a person of ordinary skilf in the art? =—-12:12:04
21 "multimedia systems," You know, it seems like in 21 A My assumption -- what I was trying to say
22 order to have experience in multimedia systems, 22 here was that this person has studied multimedia
23 right, you need to -- you need a person that studied 23 systems. Whether they're designing now or not is
24 asystems that render multiple types of media, 24 different. But if they studied multimedia systems,
25 according to your definition, right? 12:09:16 25 then they certainly studied audio, voice, graphics 12:12:22
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1 A Right. But not just renders. All aspects -- 1 and text and others, perhaps, depending on the
2 multimedia systems represent systems that deal with 2 program. So they've certainly had experience.
3 the integration, whether it's on the capture side, 3. Q Okay. So you're assuming that if a person
4 compression, streaming of these integrated media 4 has experience in multimedia systems, that person
5 types. 12:09:47 5 would have experience in other types of media, 12:12:43
6 But in order to study that, you do have to 6 whether that's video, audio, or images, that person
7 study each individual one as well. This is not 7 would have experience in all of those different
8 just -- all components have to be studied 8 types of media, correct?
9 individually as well. And I assume somebody with 9 A Correct. I wouldn't call them “other." I
10 that kind of degree -- just based on the degrees we 12:10:00 10 would call them components of multimedia. 12:12:56
il have at USC, I can say that that's for sure the 11 Q Okay. Let's take a look at paragraph 62 of
12. case. 12 your declaration.
13. Q What are -- what are some examples of 13, A Yes.
14 multimedia? 14 Q Would you please read that paragraph for me,
15 MR. KAPLAN: Object to form. 12:10:15 15 just the first two sentences. 12:13:28
16 BY MR. PAK: 16 A
17 Q Or let me phrase it differently. 17 “Numerous technical dictionaries
18 What types of media -- what are some examples 18 confirm that data," in quotations,
19 of media types that would be categorized as 19 “including audio data, can be
20 multimedia? 12:10:28 20 represented in both analog," in 12:13:37
21. A Okay. So we're talking about media, not 21 quotes, “or digital," in quotes,
22 systems, right? 22 "form. Digital data is," quotes,
23 Q Yes. 23 "data represented in discreet
24 A You know, some obvious ones are television 24 discontinuous form, as contrasted with
25 programs, picture and sound, and graphics many 12:10:39 25 analog data represented in continuous 12:13:47
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1 form," end quote. I format and can be transported or
2 Q Okay. And then paragraph -- in paragraph 63, 2 streamed over a data network."
3 the second sentence, it says: 3 Do you see that?
4 "In the generic sense, packets 4 A Ido.
5 refer to the manner in which data are 12:14:04 5 Q The '206 patent discusses sending and 12:17:43
6 organized into discreet units for 6 receiving audio in digital form, correct?
7 transmission and switching through a 7 A Yes,
8 data network." 8 MR. KAPLAN: Object to form.
9 Do you see that? 9 BY MR. PAK:
10 A Yes. 12:14:12 10 Q Is there anywhere in the '206 patent that (12:17:52
11 Q So data packets are in digital form, correct? 11 discusses sending and receiving audio data in the
12 A _ Data packets are, yes. 12 form of -- Iet me -- let me rephrase that.
13 Q Can data packets be in analog form? 13 is there anywhere in the '206 patent that
14. A_ Data can be in analog form, but it's not 14 discusses sending and receiving audio in analog
15 transmitted using packets. 12:14:37 15 form? 12:18:08
16 Q Right. So data packets are not in analog 16 A That wasn't -- I'd have to go look at it
17 form, correct? 17 again. I don't remember every word of the patent.
18 A Correct. 18 The sections that I looked at for my opinion were --
19 Q Are there other discreet discontinuous forms 19 you know, I just looked for those things. So I
20 of data that are not data packets? 12:14:53 20 would have to go look and make sure of the answer. 12:18:26
21 A Yes. 21 Q Sitting here today, you can't recall any
22 Q What are those forms of data? 22 passages in the '206 patent that discusses sending
23. A A digital audio stream that consists of bits, 23 and receiving audio data in analog form, correct?
24 those are not packets. It's continuous stream of 24 MR. KAPLAN: Object to form.
25 bits or a digital audio stream that we talked about 12:15:14 25 Mischaracterizes testimony. 12:18:43
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{ before that has been modulated through some 1 THE WITNESS: Like I said, I don't want to
2 pre-agreed encoding scheme like pulse code 2 say J do or I don't because | don't -- I'd have to
3 modulation. Though those are not -- those are 3 go read it. It's possible.
4 digital streams that are not packets. 4 For example, I know that at Sonos there are
5 Q Inorder to stream audio from the internet, 12:15:44] 5 Sonos audio products that have analog inputs on the 12:18:55
6 from an internet media source on a speaker, does 6 back. And so I just don't know if -- I just don't
7 that streaming audio have to be in the form of . 7 know if there is a section in this patent since I
8 packets or can it be in a continuous form of data? 8 haven't looked for that specifically.
9 A Ifwe're talking about the general purpose 9 BY MR. PAK:
10 internet, you know, it only supports packet 12:16:32 | 10 Q Would it help if we take a few minutes for 12:19:17
11 protocols. So it would have to be put in that form. 11 you to review the patent and see if you can find any
12 Q I'd like to introduce a new exhibit here. I 12 passages that discuss sending and receiving audio in
13 uploaded it and marked it as Exhibit 10. 13. the form of analog data?
14 (Exhibit 10 was marked for identification _ 14. A Sure.
15 electronically and is attached hereto.) 12:16:55 15 Q Okay. So how about we do that, take afew — 12:19:29
16 BY MR. PAK: 16 minutes.
17. Q Let me know when you see that. 17 A Okay.
18 A Iseeit. 18 THE REPORTER: Do you want to go off the
19 Q Do you recognize this document? 19 record or not?
20 A _ Yes. It's the '206 patent. 12:17:06 20 MR. KAPLAN: No. 12:19:46
21 Q I want to take a look at Column 4. It's on 21 THE WITNESS: By doing a quick scarch, I
22 PDF page 16 and line 36. It says: 22 could find -- I could keep looking -- Column 4, line
23 "As used herein, unless 23 65:
24 explicitly stated otherwise, an audio 24 "The device 112 is configured to
25 source or audio sources are in digital 42:17:32 25 receive an analog audio source, e.g., 12:20:23
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1 for broadcasting.” 1 and 10. Without reading them directly, it talks
2 The audio sources -- Column 5 -- I'm just 2 about the ability to handle analog signals, whether
3 reading from line 65 onward. The last line there 3 it's processing them from inputs and then converting
4 says: 4 them to digital to share with other devices on a
5 "The analog audio sources can be 12:20:45 5 network. And then line 9 on the same column: 12:23:21
6 converted to digital audio sources." 6 "The audio amplifier is typically
7 BY MR. PAK: 7 an analog circuit, but powers the
8 Q Right. And then the next sentence says: 8 provided analog audio signals to drive
9 "In accordance with the present 9 one or more speakers."
10 invention, the audio source may be 12:20:58 10 Q So those sentences that you point out, you = 12:23:43
11 shared among the devices on network 11 know, on Column 6 of the patent talk about
12 108." 12 processing analog signals, but when that signal is
13 Do you see that? 13 actually sent or received over the nctwork, it talks
14 A Ido. 14 about producing digital signals. So it's talking
15 Q So let's go back to paragraph 4 -- column 4, 12:21:07 15 about converting the analog signals to digital 12:23:56
16 line 50. Could you please read that paragraph for 16 signals to communicate over the network, correct?
17 me. 17 A Yes.
18 A 18 MR. KAPLAN: Object to form.
19 "The network 108 may be a wired 19 THE WITNESS: Yes. I was just responding to
20 network, a wireless network, or a 12:21:22 20 your question as to whether there is any mention of 12:24:06
21 combination of both." 21 analog in this. Clearly the patent talks about
22. Q Youcan keep going. 22 products that could handle connections to analog
23 A 23 input signals.
24 "In one example, all devices, 24 BY MR. PAK:
25 including the zone players 102, 104, 12:21:32 25 Q Right. But does this patent talk about 12:24:17
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1 and 106, are coupled to the network by 1 sending analog data over the network, such as
2 wireless means, based on an industry 2 network 108 described in the patent?
3 standard such as [EEE 802.11. 3 A [think it does indirectly. Because in line
4 "Another example -- 4 50 that you read before, the network may be a wired
5 Q You can stop there. 12:21:47 5 network. It doesn't say that that needs to be 12:24:47
6 As the patent describes, network 108 is 6 digital. It could be analog.
7 talking about an internet-based network that uses 7 Q Well, you know, let's go back to Column 4,
8 industry standards such as the FEEE 802.11 standard, 8 line 36. It says:
9 correct? 9 "As used herein, unless
10 MR. KAPLAN: Objection. Mischaracterizes the 12:22:04 | 10 explicitly stated otherwise, when an 12:25:03
11 document. Ih audio source or audio sources are in
12 THE WITNESS: J don't -- I wouldn't call this 12 digital format, they can be
13 internet based. This just tells me how the 13 transported or streamed over a data
14 components are communicating, which is a wireless -- 14 network."
15 standard 802.11 wireless. 12:22:19 15 Right? So in line -- line 50 when it says = 12:25:14
16 BY MR. PAK: 16 "The network 108 may be a wired network ora
17 Q And the 802.11 standard requires data to be 17 wireless network, or a combination of both," it's
18 transmitted or received in digital format, correct? 18 talking about sending data in digital format, right?
19 A Correct. 19 Unless it’s stated otherwise, you have to assume
20 Q And that data transmitted over 802.11 12:22:33 20 that you're sending or receiving data in digital 12:25:30
21 standard requires data to be transmitted and 21 format, correct?
22 received in the form of data packets, correct? 22 MR. KAPLAN: Objection. Mischaracterizes the
23. A Correct. 23 document.
24 Referring back to your analog question, I'm 24 THE WITNESS: I don't know. It's hard --
25 just seeing more sections here. Column 6, line 3 12:22:59 25 it's like the paragraph here, maybe. I'm not 42:25:45
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1 certain about that. I switch telephone network and send audio data to
2 BY MR. PAK: 2 render that audio data on one of those speakers?
3. Q Sure. Let me ask you this way. 3. A Oh, yeah, absolutely. Speaker phones, right?
4 So in line 50 in Column 4, it says: 4 Q Do the patents disclose speaker phones?
5 "The network 108 may be a wired 12:25:55 5 A Iwas just giving you an example of what you 12:29:08
6 network or a wireless network or a 6 could connect. You can connect any kind of
7 combination of both." 7 transducer because what you're getting out is an
8 Right? 8 audio signal. So if you send it to a loudspeaker,
9 A Yes. 9 it will play, and the loudspeaker can be any kind of
10 Q Does that sentence mention analog? 12:26:02 | 10 form. 12:29:29
11 A No, it Q Does the '206 patent discuss sending or
12. Q Okay. Let's take a look at paragraph 64 of 12 receiving data over a public switch telephone
13 your declaration. So back to Exhibit 9. It's PDF 13 nctwork?
14 page -- PDF page 23. 14 A Well, as I say, it talks about sending and
1 And in the middle of that paragraph, it says: 12:26:43 | 15 receiving it over networks in general and it doesn't 12:29:42
16 "These networks allowed cellular 16 exclude that, but it doesn't mention it specifically
17 devices to send and receive data, as 17 either.
18 Sonos requires, typically in the form 18 Q Isaspeaker phone capable of processing and
19 of voice calls." 19 rendering audio data?
20 Do you see that? 12:26:56 20 A Yes. 12:30:03
21 A Yes. 21 Q Does the '206 patent discuss sending or
22 MR. KAPLAN: I'm sorry. Which paragraph 22 receiving audio data via RCA cables?
23 again? 23. A The discussion we had before about connecting
24 MR. PAK: Paragraph 64. 24 analog sources, and I do know that some of the Sonos
25 MR. KAPLAN: Thank you. 12:27:08 | 25 speakers have that in the back, but that connection 12:30:30
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I THE WITNESS: I see it. 1 would typically be an RCA cable. It might also be a
2 BY MR. PAK: 2 mini jack, a {/8th inch jack or cable.
3 Q Does the '206 patent discuss sending or 3. Q Okay. So let's look at the patent, Column 1,
4 receiving audio data over a cellular or voice 4 line 40. Would you please read that first sentence
5 network? 12:27:19 5 for me. 12:31:15
6 A Well, it discusses sending or receiving it 6 A
7 over wireless networks. So that would cover all 7 "Currently one of the systems
8 kinds of wireless networks in the broadest sense, 8 that can mect part of such demand is a
9 right? It doesn't exclude them. 9 conventional multizone audio system
10 Q Can you send data over a voice network to 12:27:41 10 that usually includes a number of 12:31:21
11 render audio on a device? il audio players.”
12. A So because you don't have construction of 12 Q Keep going.
13 what a voice network is, claim construction around 13, A
14 voice network, I want to know what your definition 14 "Each of the audio players has
15 is of voice network so I can answer correctly. 12:28:14 15 its own amplifiers and a set of 12:31:28
16 Q Right. So earlier you said a voice network 16 speakers and typically installed in
17 would be -- like an example would be a telephony 17 one place, e.g., the room. In order
18 network, like a public switch telephone network, 18 to play an audio source at one
19 correct? 19 location, the audio source must be
20 A Correct. 12:28:28 20 provided locally or from a centralized 12:31:41
21 Q And you wouldn't send or receive audio data 21 location."
22 over a public switch telephone network, would you? 22 Keep going?
23. A Why not? Voice is audio data basically, 23 Q No, that's okay.
24 right? So you kind of are doing that. 24 Is there anything in this patent that
25 Q Can you have speakers connected to a public 12:28:44 25 distinguishes those type of conventional multi-audio 12:32:07
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I systems to what is disclosed in the patent as the 1 network interface functions by a wired
2 invention? 2 means, for example, an Ethernet
3 MR. KAPLAN: Objection to form. 3 cable."
4 BY MR. PAK: 4 Do you see that?
5 Q Let me put it this way. The next paragraph, 12:32:34 5S A Yes. 12:35:46
6 can you read the first sentence of that -- of line 6 Q So the patent discloses that the wired
7 56. 7 network can be an Ethernet cable, right?
8 A 8 A_ That's a different network than the one that
9 "In order to achieve playing 9 connects -- this is not for connecting sources.
10 different audio sources in different 12:32:44 10. This is for connecting spcakers together to -- could 12:36:07
W audio players, the traditional 11 be wired or wireless. The previous discussion was
12 multizone audio system is generally 12 about what kind of sources.
13 cither hard wired or controlled by a 13. Q Right. So this is talking about the wired
14 preconfigured and preprogrammed 14 interface of a zone player, correct?
15 controller." 12:32:55 15 MR. KAPLAN: Object to form. 12:36:36
16 Q Right. So the patent talks about traditional 16 THE WITNESS: Yes. This is talking about how
17 multizone audio systems being either hardwired or 17 to connect multiple zone players, in this case,
18 controlled by a preconfigured or preprogrammed 18 speakers, whether they're wired or wireless. They
19 controller, and it distinguishes those traditional 19 provide capability for both.
20 multizone audio systems from the -- from the system 12:33:13 20 BY MR. PAK: 12:36:54
21 disclosed in the '206 patent as the invention, 21 Q So let's talk about the zone player. So the
22 right? 22 zone player has network interface -- so a zone
23 MR. KAPLAN: Object to the form. 23 player has a network interface 202, which may
24 THE WITNESS: I mean, that's kind of the 24 include one or both of the wireless interface 216
25 purpose of writing the background. What you're 12:33:49 25 and a wired interface 217, right? 12:37:17
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1 going to say after that is supposed to be better. 1 A Yes.
2 BY MR. PAK: 2 Q Okay. And specifically the wired interface
3 Q Right. So the disclosed system in the '206 3 217 provides network interface function by wired
4 patent that's described as the invention isn't 4 means, for example, an Ethernet cable, correct?
5 talking about these hardwired traditional multi-zone 12:34:07 5 A Correct. And this is why I was talking about 12:37:39
6 audio systems, right? 6 the introduction before. It seems to contradict the
7 MR. KAPLAN: Object to form. 7 benefit because they say that the old systems were
THE WITNESS: Well, it doesn't completely go 8 all wired and so they're no good. But now they also
9 away from it because it allows for a wired source, 9 provide capability for wired. So it's just a
10 an analog wired source to be connected to one of the 12:34:31 10 different type of wire, I suppose. 12:37:55
11 zone players and then be distributed. So it doesn't 11 Q As you recall, did these traditional
12 completely remove them. 12 multizone audio systems include speakers that were
13 BY MR. PAK: 13 connected via an Ethernet cable?
14 Q Does the patent discuss what the wired source 14. A No. That's what I'm saying. They were
15 has to be, what form it has to be in? 12:34:49 15 connected by copper RCA cables or speaker cables 12:38:16
16 MR. KAPLAN: Object to form. 16 directly.
17 THE WITNESS: It gives examples at the bottom 17 So this is a different kind of cable, but
18 of Column 4, line 66, broadcasting, which is analog, 18 still the possibility existed of speakers in
19 compact disk, which could be digital or analog, 19 different zoncs or rooms that are connected by
20 depending on what connection you have. Yeah, those 12:35:20 | 20 wires. Just a different kind of wire. 12:38:31
21 are examples. 21 Q What is the difference between an Ethernet
22 BY MR. PAK: 22 cable and a copper wire such as an RCA cabic?
23 Q Allright. So let's take a look at Column 5. 23 A guess Ethernet cables are also made of
24 And I'm looking at line 33. It says: 24 copper, but they have different kinds of endings and
25 "The wired interface 217 provides 12:35:39 25 they have multiple strands in them carrying data. — 12:39:06
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1 So I guess I would consider an Ethernet cable 1 directly to and from another device, correct?
2 capable of carrying digital packet data, whereas an 2 MR. KAPLAN: Object to form.
3 audio interconnect carries analog audio data. 3 THE WITNESS: I don't know how else to
4 Q SoanRCA cable carries analog data, whereas 4 interpret this. It says, "sending and receiving
5 an Ethernet cable carries digital data packets, 12:39:38 | 5 from each other." So unless there is something in 12:42:10
6 correct? 6 between that is not disclosed, what else could it
7 A To be totally clear, analog cables -- sorry, 7 be, right?
8 RCA cables can also carry digital data. Just not 8 BY MR. PAK:
9 packetized. 9 Q Right. So Sonos's construction of the data
10 Q Okay, that makes sense. 12:39:54 10 network is broad cnough to cover directly or 12:42:19
1] I want to take a look at paragraph 66 of your 11 indirectly sending and recciving data, correct?
12 declaration. 12 MR. KAPLAN: Object to form.
13 A Yes. 13 THE WITNESS: Right, that's true. But my
14. Q Let me get to it real quick. The second 14 construction, though, was not really focused around
15 sentence of paragraph 66 says: 12:40:21 15 the directly part. It was that a data network, as 12:42:43
16 "There are many types of networks 16 we've already discussed since this morning, doesn't
17 that do not require a network device 17 have to be digital packets.
18 to both send and receive data from 18 BY MR. PAK:
19 another device. For example, networks 19 Q Right. But let's look at paragraph 66 again.
20 may be configured in a ring such that 12:40:31 | 20 And it says: 12:43:00
21 no device both sends and receives data 21 “For example, networks may be
22 directly to and from another device." 22 configured in a ring such that no
23 Do you see that? 23 device both sends and receives data
24 A Yes. 24 directly to and from another device.”
25  Q Okay. So let's take a look at Sonos's 12:40:43 | 25 Right? But Sonos's construction doesn't say 12:43:11
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1 proposed construction on page 21 of your 1 or doesn't require direct -- directly sending and
2 declaration. Could you please read Sonos's 2 receiving data, right?
3 construction for data network. 3 MR. KAPLAN: Object to form.
4 A 4 THE WITNESS: The intent of this sentence
5 "A medium that interconnects the 12:41:00 5 that I wrote here was that "directly" is kind ofa = 12:43:38
6 devices enabling them to send data 6 substitution for each other. Because obviously in a
7 packets to" -- 7 network, in a ring network, devices are sending data
8 T'll start over. 8 and they're receiving data. But it's not a send and
9 "A medium that interconnects 9 receive between two devices. And that's what I
10 devices, enabling them to send digital 12:41:09 10 meant by "directly" here. I didn't imply there was 12:43:54
i data packets to and receive digital 11 nothing in between.
12 data packets from each other." 12 BY MR. PAK:
13. Q Does Sonos's proposed construction of data 13. Q So-- sorry.
14 network require sending and receiving data directly 14. A No, no.
15 to and from another device? 12:41:26 15 Q Soin that -- so ifa network is configured 12:44:03
16 MR. KAPLAN: Object to form. 16 in aring, you'd agree with me that a device can
17 THE WITNESS: I guess I'm not sure what 17 both send and receive data to and from each other?
18 "directly" means in this context. We're connecting 18 A No. Because to and from cach other means you
19 two devices. 19 have two devices and they're talking back and forth.
20 BY MR. PAK: 12:41:45 20 And ina ring network, one device will send tothe = 12:44:27
21 Q So let me ask you this way. Does the word 21 next. If it has the token, it will -- let's say
22 “directly" appear in Sonos's proposed construction? 22 it's clockwise orientation and it will send to the
23 A_ It does not. 23 next one and receive from the one before it. So
24 Q Okay. So Sonos's construction of data 24 it's sending and receiving two different devices,
25 network does not require sending and receiving data 12:41:56 25 not a two-way communication. 12:44:50
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| Q What is a token ring network? 1 A Yes.
2 A It'saset of devices connected in a network 2 Q Let's look at the top right PC. So this top
3 that is -- as I described, think of a circle with 3 right PC can receive data from one of these PCs,
4 multiple points in it. Each of those is a network 4 correct?
5 device. The protocol is such that to avoid what 12:45:12 5 A Assuming that the token protocols were 12:48:32
6 network people call collisions, which is when a 6 followed, yes.
7 bunch of data tries to arrive at the same time, to 7 Q From what devices can this PC receive data
8 avoid that they use traffic police kind of system 8 from?
9 where you can't talk unless you've been told to talk 9 <A From whichever device decided to address the
10 because you have the token. And so data gocs around 12:45:36 10 token to that PC. 12:48:56
11 incircles. It can be clockwise. It can be 11 Q So it can be any once of the four other
12 counterclockwise. And sometimes it's a star 12 devices on this token ring network, correct?
13 configuration where there's a -- literally a central 13. A_ Itcan, although you'll have to -- if it's
14 node and everybody communicates through, or 14 the one next to or below to the right, it would have
15 sometimes it's a controller. So it's a different = 12:45:51 15 to wait a while until it gets there because ithas 12:49:19
16 configuration for a network topology. 16 to go through all the other ones. But yes.
17. Q I'd like to introduce a new exhibit here. I 17 Q Socan that PC on the top right transmit data
18 uploaded a new exhibit marked as Exhibit 11. 18 to any of the four other PCs in the token ring
19 Do you see that? 19 network?
20 A Yes. I'm waiting for it to open. Tsee it. 12:46:21 20 A Again, yes, if it decides it wants to 12:49:36
21 (Exhibit 1] was marked for identification 21 transmit to one of them and puts that information on
22 electronically and is attached hereto.) 22 the token and addresses it to that PC, yes, it can
23 BY MR. PAK: 23 do that.
24 Q Do you recognize this document? 24 Q Okay. And] want to go back to your
25 A Yes. 12:46:33 25 declaration now, looking at paragraph 67. On page 12:49:53
Page 138 Page 140
1 Q This was attached as Appendix L to 1 24,
2 Dr. Schmidt's declaration, and you reviewed this 2 A Yes.
3 document, right? 3 Q Itsays:
4 A IJdid, yes. 4 "Various publications also
5 Q I want to take a look at the last page, PDF 12:46:42) 5 confirm that unidirectional data 12:50:08
6 page 6. 6 networks were well known in the art."
7 Do you see the token ring network 7 And you relied on U.S. patent
8 configuration at the bottom left? 8 No. 6,081,907.
9 A Isee it. 9 Do you see that?
10 Q So in this token ring network configuration, 12:46:54 10 A Ido. 12:50:19
11 can a given device send data to or receive data from 11 Q And you would have to go to the electronic
12 another device? 12 exhibit, because I want to look at PDF page 157.
13. A Yes, but not from the same device in both 13. A Okay. That was Exhibit 9?
14 directions. 14. Q Yes, correct.
15 Q Okay. And in the last sentence below that 12:47:17) 15 MR. KAPLAN: Which PDF page? 12:50:51
16 configuration, it says: 16 MR. PAK: PDF page 157.
17 “Any PC can grab a passing token 17 THE WITNESS: I'm looking for an easier way
18 and attach data and the address of 18 besides scrolling.
19 another PC to it, as each PC in turn 19 MR. KAPLAN: I don't know that there is.
20 watches for tokens that are addressed 12:47:41} 20 THE WITNESS: I'm almost there. Okay. 12:51:30
21 to it." 21 Wait. I'm sorry. Are we talking about the
22 Right? 22 monthly unique users graph?
23. A Yes. 23 BY MR. PAK:
24 Q So you're saying in this configuration -- 24 Q No. Hold on one second. I'm putting it in
25 let's pick one example. There's five PCs, right? 12:48:10) 25 the chat right here. 12:51:56
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MR. KAPLAN: 157 for me is the '907 patent.

1 1 BY MR. PAK:
2 THE WITNESS: Oh, I had 57. Okay. 2 Q Okay. Let's take a look at Column 3, the
3 BY MR. PAK: 3 second paragraph. It says:
4 Q There's a little scroll controls you can -- 4 "The bidirectional data network
5 A Yeah. 12:52:13 5 28 represents various types of 12:54:33
6 Q Yeah. 6 networks, including the internet, a
7 A Okay. Isee it. 7 LAN, local area network, a WAN, wide
8 Q Okay. And this is a copy of the '907 patent 8 area network, and the like."
9 provided as an exhibit to your declaration, right? 9 Do you see that?
10 A Yes. 12:52:36 10 A Ido. 12:54:46
11. Q Okay. And I want to go down to PDF page 165. 11 Q In the next paragraph it says:
12 And J want to focus on the background section of the 12 "The broadcast center 26 receives
13 '907 patent. 13 the data served from the content
14. A Okay. 14 servers 22(l) through 22(K) over the
15 Q Okay. And the first paragraph of the 12:52:58 | 15 network 28, and broadcasts the data 12:55:02
16 background section says: 16 over a broadcast network 30 to the
17 "Conventional computer networks 17 clients 24(1) through 24(M)."
18 are bidirectional, allowing data 18 Do you see that?
19 communication in both directions 19 A Ido.
20 between servers and clients. 12:53:08 20 Q Now, if you look at Figure 1 of the '907 12:55:15
21 Transmitting data over these 21 patent, and it's PDF page 158, you see there's a
22 bidirectional data networks has been a 22 separate bidirectional data network 28 and a
23 mainstay of computer technology for 23 broadcast network 30, right?
24 many years and the communication 24 A 28 and 30, yes, I see it.
25 protocols are well established." 12:53:20 25 Q So you'd agree with me that the bidirectional 12:55:45
Page 142 Page 144
1 Do you see that? 1 data network 28 and broadcast network 30 in the ‘907
2 A Yes. 2 patent are different networks, right?
3. Q Allright. And the third paragraph in the 3 MR. KAPLAN: Object to form.
4 background section, could you actually read that 4 THE WITNESS: That's what is shown in this
5 paragraph for me. 12:53:31 5 diagram. They're showing an example thathas both = 12:56:11
6 A 6 in there.
7 "Apart from the classic 7 BY MR. PAK:
8 bidirectional data networks, there is Q As shown in Figure 1, you'd agree that data
9 an increasing interest in the use of 9 network 28 is bidirectional, whereas the broadcast
10 broadcast or multicast networks to 12:53:40 10 network 30 is unidirectional, correct? 12:56:24
li deliver computer data and other 11 A Yes, that's what is being disclosed.
12 content to clients. These types of 12 Q Is there anywhere in the ‘907 patent that
13 distribution networks are 13 mentions that broadcast network 30 is a data
14 unidirectional in that data flows from 14 network?
15 the server to the clients, but no 12:53:50 15 MR. KAPLAN: Object to form. 12:56:43
16 return communication is possible over 16 BY MR. PAK:
17 the same communication path.” 17. Q And wecan take a minute if you need a minute
18 More? 18 to revicw the patent.
19 Q That's okay. 19 A Yeah, let me take a minute.
20 So the '907 patent actually distinguishes the 12:54:03 | 20 So Column 3, line -- the paragraph that 12:57:30
21 classic bidirectional data network from a 21 starts at line 33, it says:
22 unidirectional broadcast or multicast network, 22 "The broadcast network 30 can be
23 correct? 23 implemented in a variety of ways. For
24 A Yes. 24 instance, the broadcast network might
25 MR. KAPLAN: Object to form. 12:54:17 | 25 be implemented as a wireless network 12:57:55
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1 configured for one-way transmission, 1 Q Sure. Take a minute if you need a minute to
2 Le., satellite, radio, microwave 2 review.
3 et cetera. The broadcast network 3 A I think it goes back to Column 3, the
4 might also be a network that supports 4 paragraph that I was reading before, line 33 --
5 two-way communication, but is 12:58:08 5 actually, line 36 where it gives examples. 01:00:59
6 predominantly used for unidirectional 6 Satellite, radio, and microwave. What we talked
7 multicasting from the broadcast center 7 about before, satellite may or may not be data. But
8 26 to many clients simultaneously." 8 radio and microwave is -- may not be data packet,
9 Q So in that sentence, does the patent use the 9 but radio and microwave are most likely not packet
10 word “data network"? 12:58:29 10 based. So it's certainly possible the way they 01:01:25
11 A Well, as we've said before several times, 11 wrote it.
12 wireless networks that transmit data are data 12 BY MR. PAK:
13 networks. And so it doesn't say data network when 13. Q Let's take a look at the figures here. And I
14 it talks about ATM or Ethernet or anything else. 14 want to take a look at Figure 4. Let me see if I
15 These are all data networks. 12:58:54 15 can find the description for it. 01:01:58
16 Q Why does the patent use the term "data 16 Actually, let's take a look at Column 5, line
17 network" when it describes data network 28, but 17 35. The paragraph says:
18 doesn't use the term "data network" when it talks 18 "Figure 4 shows exemplary steps
19 about broadcast network 30? 19 in a method for serving data packets
20 MR. KAPLAN: Object to form. 12:59:09 | 20 over the unidirectional network." 01:02:21
21 THE WITNESS: I don't know what they had in 21 Do you see that?
22 mind in their language to write it that way, but -- 22 A Yes.
23 I don't know. I can't answer why they said it that 23 Q So Figure 4 is describing a method specific
24 way. 24 to transmitting data packets over broadcast network
25 Mil 25 30, right? 01:02:35
Page 146 Page 148
1 BY MR. PAK: 1 MR. KAPLAN: Object to form.
2 Q Let's look at Column 4 of the '907 patent. 2 THE WITNESS: It's describing a method, but
3 If you look at line 22 -- 3 not all the methods, right? Because we talked about
4 A Yes, 4 other possibilities. In this paragraph it's a
5 Q Itsays: 12:59:45 5 method, yes. 01:02:47
6 "The packet encoder 52 6 BY MR. PAK:
7 encapsulates packets of data with 7 Q And then Column 6, line 15, it says:
8 appropriate headers for transmission 8 "Figure 5 shows the byte-wise
9 over the data network and broadcast 9 technique for generating a redundancy
10 network." 12:59:57 10 packet from multiple data packets 01:03:25
il Do you see that? il within a redundancy group."
12 A Yes. 12 Do you see that?
13. Q So this patent discloses that the 13. A I'msorry. [ heard it, but I missed which
14 bidirectional data network 28 and the broadcast 14 paragraph we're in.
15 network 30 both transmit data in the form of data 01:00:12 15 Q Column 6, line 15, 01:03:37
16 packets, right? 16 A Yes, Isee it.
17. A_ Ican indirectly assume that based on this 17 Q So Column 5 again is describing a certain
18 sentence. 18 technique for generating packets, right? Data
19 Q Do you sce any disclosure in the '907 patent 19 packets?
20 where data that is transmitted over the data nctwork 01:00:33 20 MR. KAPLAN: Object to form. 01:03:54
21. or the broadcast network is not in the form of data 21 Do you mean Figure 5?
22 packets? 22 BY MR. PAK:
23 MR. KAPLAN: If you need to review the 23. Q Yeah, I'm sorry. Let me rephrase.
24 patent, you can. 24 Figure 5 is illustrating a specific technique
25 BY MR. PAK: 25 for generating data in the form of data packets, 01:04:09
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i right? 1 possible coexistence.
2 <A In this paragraph it's talking about a 2 So, no, I don't see any figure -- the figures
3 specific aspect of it, aspect of the redundancy 3 are focusing on byte patterns and headers and packet
4 formatter, I think is what they're talking about 4 related stuff. But, again, this was not my purpose
5 here. 01:04:35 5 for quoting this patent. 01:07:24
6 Q Right. But, generally speaking, Figure 5 is 6 MR. PAK: Okay. I want to transition away
7 talking about data packets, correct? It's talking 7 from discussing data networks and talk about some of
8 about data in the form of data packets. 8 the other terms in your declaration. Do you want to
9 MR. KAPLAN: Object to form. 9 take another break or just power through it?
10 THE WITNESS: It is. I'm just looking a 01:04:50] 10 Why don't we take a break and come back in 01:07:47
11 little further down where it says it's illustrative 11 ten minutes. Is that okay?
12 for example purposes. "Other computations may be 12 THE VIDEOGRAPHER: Does anybody need more
13 used" -- this is line 30 of the same column. 13 time than that?
14 So there are examples that involve packets, I 14 We can go off the record. We're off the
15 agree with that. But they're also saying there are 01:05:20) 15 record at 1:07 p.m. 01:07:55
16 other ways. 16 (Lunch recess.)
17 BY MR. PAK: 17 THE VIDEOGRAPHER: We are on the record at
18 Q Okay. And then Column 7, second paragraph, 18 1:43 p.m.
19 it says: 19 BY MR. PAK:
20 "Figure 6 shows an exemplary data 01:05:31 | 20 Q So far we talked about various examples of — 01:43:32
21 structure 110 for data packet formed 21 data networks and local area networks. And I just
22 by packet encoder 52 and redundancy 22 want to run by one more example with you to further
23 formatter 54." 23 understand what local area network means to a person
24 Do you see that? 24 of ordinary skill in the art.
25 A Isee it. 01:05:42 25 So the question here is, if --ifsomeone 01:43:49
Page 150 Page 152
1 Q So we have Figure 4 is also talking about 1 used two cups on a string to communicate with
2 data packets, right? 2 another person, does that amount to communicating
3 A Figure 6, you mean? 3 over a local area network?
4 Q I'msorty. So Figure 6 is also talking about 4 A I thought we covered this in the morning.
5 data packets, right? 01:06:02 5 Q Yeah, we -- 01:44:01
6 A Yes, itis. It's showing the structure. If 6 A I think we talked about it --
7 you have data packets, this is what they should look 7 Q Yeah, in the context of data network, but we
8 like. 8 haven't talked about it in the context of a local
9 Q And the top of column 8, it says: 9 area network.
10 "Figure 7 shows exemplary steps 01:06:12 10 A Imean, honestly, don't take it personally. 01:44:10
11 in a method for receiving data packets 11 It's a little bit of a silly example, over a string,
12 transmitted over a unidirectional 12 but I guess if we -- if we use the definition that a
13 network." 13 person would use for networks, this is taking
14 Do you see that? 14 acoustic data and converting it to mechanical form
1S A Yes. 01:06:20 15 and then -- to transmit, and then converting it back 01:44:40
16 Q So Figure 7 is talking about data packets, 16 to acoustical at the other end. So in that sense,
17 correct? 17 itis a data network.
18 A Yes. 18 The criteria I use for whether it's a local
19 Q Soare there any figures in the '907 19 arca network is you have to have something to
20 patent -- in the '907 patent that doesn't talk about 01:06:32 | 20 compare it to. So stretching the string outtoa 01:45:00
21 data packets? 21 much larger area would produce a wider area string
22 MR. KAPLAN: Object to form. 22 network, and this would be a local area network. So
23 THE WITNESS: My reference to this patent was 23 I think all those definitions are consistent.
24 not to address the data packet or not issue. It was 24 Q Socommunicating using a string, two cups on
25 to address unidirectional and bidirectional and 01:06:55) 25 astring, would amount to a local area network in 01:45:28
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1 your opinion? 1 does not resolve the debate relating
2 MR. KAPLAN: Objection. Mischaracterizes 2 to the use of the term 'particular.”
3 testimony. Asked and answered. 3. Q Okay. So I want to take a look at the
4 THE WITNESS: Local -- the word "local" only 4 prosecution history of the 615 patent. And just
5 makes sense if there's something else to compare it 01:45:43 5 give me a minute to introduce the exhibit. 01:48:18
6 to that is bigger or smaller. 6 Okay. So I've just uploaded here an exhibit
7 And so, as I say, if there's a larger 7 marked as Exhibit 12.
8 distance with bigger string, that would be a wide 8 Do you see that?
9 area network on a string and then this would be A Yes.
10 called local if it was a smaller one. But by 01:45:58 10 (Exhibit 12 was marked for identification
11 itself, it's hard to say because you necd a 11 electronically and is attached hereto.)
12 comparison. 12 BY MR. PAK:
13 BY MR. PAK: 13. Q Do you recognize this document?
14 Q Right. So depending on the length of the 14. A Yes.
15 string that connects the two cups, right, someone 01:46:08 15 Q Okay. So this is Appendix N of Dr. Schmidt's 01:48:56
16 that uses two cups on a string to communicate with 16 declaration, right?
17 another person, that would amount to communicating 17 A Yes.
18 over a local area network, correct? 18 Q You know, before we get into his response,
19 MR. KAPLAN: Same objections. 19 you know, just generally speaking, why do you think
20 THE WITNESS: Well, I guess same answer. It 01:46:24 20 an applicant would amend its claims during 01:49:14
21 depends. There's no -- there's no length of the 21 prosecution?
22 string that would be -- there's no size of the -- of 22 MR. KAPLAN: Object to form.
23 an actual LAN that we can say if you go past this, 23 THE WITNESS: This sounds like a legal
24 you're no longer local area. It's -- as we saw, 24 question to me.
25 LANs cover from a building to a hotel toa campus to 01:46:44 25 I don't know. Because of an error, because 01:49:40
Page 154 Page 156
1 a wide area complex. 1 of additional facts, a response to the examiner.
2 Same for this. It's a local area network 2 Those are some reasons J can think of.
3 compared to something that is a longer distance, for 3 BY MR. PAK:
4 example, but I can't give you a number. 4 Q Can you think of any other reasons why an
5 BY MR. PAK: 01:47:03 5 applicant would amend its claims during prosecution? 01:49:57
6 Q Sure. But if the string is -- so you're 6 MR. KAPLAN: Object to form.
7 saying that depending on the length of the string, 7 THE WITNESS: No.
8 communicating using two cups attached to that string 8 BY MR. PAK:
9 can either be a local area network or a wide area 9 Q Well, look at this office action response.
10 network then, correct? 01:47:18 10 Do you think the applicant here amended its 01:50:21
11 A Yeah, sure. 11 claims to overcome the cited references?
12) Q Okay. So I] want to go on to talk about the 12 A It's hard for me to speak on behalf of the
13 media particular playback system term. And if you 13 applicant, the reasons that they had. I can only
14 take a look at paragraph 58 of your declaration. So 14 speak as to, you know, what I see written here.
15 we're going back to Exhibit 9. 01:47:39 15 Is there a specific section you want me to 01:50:51
16 A Yes. 16 look at?
17. Q Would you please read paragraph 58 for the 17 Q Yeah, so how about we take a look at the
18 record. 18 remarks on PDF page 15.
19 A Yes. 19 A Okay.
20 "I disagree with Dr. Schmidt that 01:47:51 20 Q Allright. Again, the summary of the office 01:51:10
21 a POSITA would understand the media 21 action, it says:
22 particular playback system of Claims 22 "In the non-final office action
23 3, 15 or 26 to mean media playback 23 mailed July 15, 2016, the examiner
24 system. I have reviewed the 24 rejected Claims 1, 6 through 10, 15
25 prosecution history, but find that it 01:48:04 25 through 19, and 21 through 29 under 01:51:22
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eet
wm Om HDHWnNW PWN KH Do DAAIADYN FP wWNH

pre-AIA 35 U.S.C. Section 1038, as
being allegedly unpatentable over
DaCosta in view of Dua."
Do you see that?
A Isee it. 01:51:39
Q And there are some other, you know, 103
rejections with respect to Claims 3, 12 and 20,
correct?
A Yes.
Q Okay. And then looking at Section 3, the
response to the 103 rejections, the second sentence

01:51:46

1 A Ido.
Q Okay. And this is one of the patent
publications that was cited in the non-final office
action mailed July 25th, 2016. Correct?
A Yes. 01:55:06
Q Okay. And you reviewed this reference,
right?
A As I said, I read through it but mostly
looked at the comments. So I didn't review it in
the same way that | would review an actual patent in 01:55:21

this case, but I -- I'm familiar with it.

says: 12. Q Sure, that's fair.
"For at least the reason that 13 I want to take a look at paragraph 57, so on
cited references do not teach the 14 PDF page 24. Would you please read the second
subject matter currently recited by 01:52:11 15. sentence in paragraph $7. 01:55:47
applicant's claims, the pending 103 16 A The second sentence?
rejections should be withdrawn." 17 Q Yes.
Do you see that? 18 A Okay.
A. Isee it. 19 "The term ‘media player’
20 Q Okay. And let's take a look at Claim 1 on 01:52:21] 20 generally refers to electronic devices 01:56:04
21 PDF page -- PDF page 3. 21 that are capable of processing media
22 Do you see that the applicant amended 22 such as audio, video, images,
23 Claim 1, right? 23 presentations, animation, and internet
24 A Is this the paragraph numbered 2? 24 content, for example, cellular phones,
25 Q I'm taking -- I'm looking at the amendments 01:52:5B25 personal digital assistants (PDAs), 01:56:17
Page 158 Page 160
1 to the claims on PDF page 3. 1 music players, game players, video
2 <A Oh, sorry, 3. 2 players, cameras and the like."
3 I see it, yes. 3. Q Okay. And I want to skip to paragraph 142
4 Q Do you think the applicant here amended 4 now. It's on PDF page 32.
5 Claim 1 to overcome the cited references? 01:53:05] 5 A Yes. 01:56:41
6 A _ Sof probably looked through the cited 6 Q Would you please read that first sentence on
7 references, but I don't have them at the tip of my 7 paragraph 142.
8 tongue at the moment to be able to answer that 8 A Yes.
9 accurately. 9 "Finally, the device's media
10 Q Okay. Did you review any of the cited 01:53:26} 10 processing capabilities 461 are listed 01:56:47
11 references? i in the RFID transmission data 450.
12. A Tread through them. I wouldn't say that I 12 This is" --
13 reviewed them in the same way that I reviewed the 13 Q Actually, please keep going. Read the second
14 patents. 14 sentence.
15 Q Okay. So, again, I want to -- how about] 01:53:41) 15 A 01:56:58
16 introduce one of the cited references and discuss 16 "This information indicates the
17 that. Just give me a minute. 17 device's ability to process media
18 I just uploaded an exhibit and marked it as 18 assets that are in specific formats."
19 Exhibit 13. 19 Q Okay. And the patent further discusses some
20 Do you see that? 01:54:24 20 cxample media formats, correct? 01:57:11
21 A Yes. 21 A Correct.
22 (Exhibit 13 was marked for identification 22 MR. KAPLAN: Object to form.
23 electronically and is attached hereto.) 23 THE WITNESS: It does.
24 BY MR. PAK: 24 BY MR. PAK:
25 Q Do you recognize this document? 01:54:35 | 25 Q And looking at paragraph 143, could you 01:57:18
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1 please read the first sentence. 1 THE WITNESS: Well, under audio, they list
2 =A 2 specific formats for that audio, but not all
3 "This type of information allows 3 possible. So I think “any” might be too broad
4 media player 100 to only transmit 4 because they don't list -- it's hard to say.
5 media assets which are supported by 01:57:28 5 BY MR. PAK: 02:00:11
6 the target devices." . 6 Q Allright. But Dua discloses a media player
7 Q Would you please read the second sentence in 7 that can play different types of multimedia, right?
8 full. 8 A Right, different types of audio, different
9 A Oh, sure. 9 types of video, and graphics.
10 "This information also 01:57:38 10 Q Okay. So now let's go back to the office 02:00:32
1 allows cither or both of the target 11 action response, Exhibit 12.
12 device and media player 100 to convert 12 And J want to take a look at Claim 3. And
13 media assets into supported formats 13 it's on PDF page 4.
14 before transmission to the other when 14 Do you see that?
15 required." 01:57:59 1S A Yes, 02:00:59
16 Q Okay. So based on, you know, these -- this 16 Q What amendments did the applicant make to
17 disclosure that we -- that I just had you read, do 17 Claim 3?
18 you agree that Dua disclosed a media player that can 18 MR. KAPLAN: Object to form.
19 play particular media formats? 19 THE WITNESS: I'm sorry, Claim 3, PDF page 4
20 A Yes. 01:58:20 20 starts -- is a half paragraph. No, no, sorry. 02:01:15
21 Q Do you agree that Dua disclosed a media 21 BY MR. PAK:
22 player that can play particular types of media? 22 Q Yeah, so Claim 3, you know, starts from PDF
23. A They disclosed a -- 23 page 4 and ends at PDF page 5, right?
24 MR. KAPLAN: Object to form. 24 A Yes.
25 THE WITNESS: They disclosed a -- the ability 01:58:33 25. Q Okay. So what -- so looking at the 02:01:33
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to play back multiple different types of media.

amendments to Claim 3, could you please walk through

2 I think that's what you're asking, yes? 2 all the amendments the applicant made in this office

3 BY MR. PAK: 3 action response.

4 Q Right. So just to clarify, so does -- do you 4 MR. KAPLAN: Objection. The document speaks

5 agree Dua discloses a media player that can play 01:58:48 5. for itself. 02:01:50

6 particular types of media? 6 THE WITNESS: I assume it's the underlined

7 MR. KAPLAN: Object to form. 7 words of the amendment.

THE WITNESS: I guess I'm trying to 8 BY MR. PAK:

9 understand how you're using the word "particular" 9 Q Yeah. So, you know, I'm not trying to trick
10 here. 01:59:13 10 you here. So the underlined -- the underlined words 02:01:59
ll It's -- they list a number of media by 11 represent words that were added.
12 example, but it's not clear to me that they're 12. A Okay.
13 excluding others. So I'm not sure how to answer 13. Q And the strike -- and the strike through
14 that. 14 represents terms, phrases that were deleted.
18 BY MR. PAK: 01:59:27 15 So I really just want, you know, to go over 02:02:14
16 Q Yeah, so let me reword this. 16 all the amendments. You know, can you walk through
17 Does Dua disclose a media player that can 17 what amendments were made.
18 play audio? 18 A Sure. So they added the word "particular" in
19 A Yes. 19 several places. “Particular playback device."
20 Q Does Dua disclose a media player that can 01:59:39 20 "Media particular playback system." 02:02:36
21 play video? 21 And then “wherein the first zone includes the
22 A Yes. 22 particular playback device."
23 Q So Dua discloses a media player that can play 23 So all the additions have to do with
24 any particular type of media, right? 24 “particular” except for the last one that they
25 MR. KAPLAN: Object to the form. 01:59:55 25 added, "playing back multimedia content in 02:02:55

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1 synchrony." 1 amended "media playback system" to "media particular
2 And then they removed "initiating playback" 2 playback system"?
3 in two locations. 3 MR. KAPLAN: Object to form. Scope.
4 Q Okay. So looking at the amendments to 4 THE WITNESS: So are you asking if I had read
5 Claim 3, do you agree that the applicant added the 02:03:13 5 this without the word “particular” in the amendment, 02:06:05
6 word "particular" in front of the word “playback" 6 would I still have the same opinion? Is that --
7 throughout Claim 3? 7 BY MR. PAK:
8 A Yes, except for one location, second to the 8 Q Yeah. So, you know, before this claim was
9 last line. 9 amended, right, you know, it used the term "media
10 MR. KAPLAN: Object to form. 02:03:34 10 playback system" instead of "media particular 02:06:19
il THE WITNESS: Actually in a couple places. 11 playback system," right?
12 It's not every "playback" that has "particular." 12. A Right.
13 It's selective. The word "particular" was not added 13. Q So before Claim 3 was amended to use --
14 in front of every time "playback" appears. Only 14 amended to use "media particular playback system,"
15 some. 02:03:53 15 would a person of ordinary skill in the art 02:06:35
16 BY MR. PAK: 16 understand Claim 3? That's what I'm trying to ask.
17 Q Well, the word "particular" was -- all right, 17. A Right. Probably. Although I'm kind of
18 Tsee, 18 reforming an opinion by just quickly reading through
19 So where it says “at least one additional 19 this paragraph, but I'm just reading it as if the
20 playback device," you're saying it doesn't say “at 02:04:02 20 word "particular" isn't there, and it would just be 02:07:13
21 least one additional particular playback device." 21 "media playback," right?
22 Ys that right? 22 Q Right. So if you substituted the “particular
23. A Oh, that wasn't the only -- the second to 23 playback system" back to "media playback system," a
24 last line of the previous page, where it says 24 person of ordinary skill in the art would understand
25 “control playback by the playback device," they did 02:04:22 25 Claim 3, correct? 02:07:29
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{ not add the word "particular" there. 1 A Well, but they didn't have "media playback
2 Q Is "media playback system" a broader term 2 system" in Claim 3. It's not like they substituted.
3 than "media particular playback system"? 3 They just added the word "particular" in front of
4 A That's -- 4 "playback," right?
5 MR. KAPLAN: Object to form. 02:04:41 5 Am I reading that correctly? 02:07:46
6 THE WITNESS: That's the part that was 6 Q Yeah. Well, it says "a media particular
7 difficult to ascertain. So that is one way to 7 playback system,” right, currently, as amended?
8 interpret that, that it plays back only particular 8 Do you see that?
9 media. 9 How about you read the first four lines of
10 The other one is that there's all kinds of 02:04:56 10 the claim before you get to the "wherein" clause. 02:08:2
11 playback systems, and I provided an example. It 11 A Wait, I'm sorry, am I looking at the same
12. plays -- records and plays back other kind of data 12 paragraph?
13 that is not media. And this would be particular to 13. Q Yes, it's --
14 media. 14 A _ This is the bottom of page 3 in the document,
15 So it can be particular to all kinds of 02:05:08 15 that paragraph, right? 02:08:35
16 media, particular to one media, or a typographical 16 Q Right. So let me read -- let me read Claim 3
17 error, as was indicated by Sonos. I couldn't tell 17 as amended.
18 which of those three -- and there may be others. 18 A Okay.
19 And that was the reason for my opinion. 19 Q Itsays:
20 BY MR. PAK: 02:05:26 20 "The method of Claim 1 wherein 02:08:40
21 Q Sure. So before Claim 3 was amended in this 21 detecting the set of inputs to
22 office action response, do you think Claim 3 was 22 transfer playback from the control
23 indefinite? 23 device to the particular playback
24 So, you know, fet me ask it this way. Do you 24 device comprises detecting a set of
25 think Claim 3 was indefinite before the applicant 02:05:42 25 inputs to transfer playback from the 02:08:52
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1 control device to a particular zone 1 of media formats and different types of media?
2 group of a media particular playback 2 MR. KAPLAN: Objection. Asked and answered.
3 system that includes a first zone and 3 THE WITNESS: Yeah, I don't know the strategy
4 a second zone." 4 they had in amending the claim.
5 Do you see that? 02:09:01 5 BY MR. PAK: 02:12:48
6 A Yes. 6 Q But do you agree with me that amending "media
7 Q Okay. Before that -- before that claim 7 playback system" to "media particular playback
8 limitation was written, right, it said "a media 8 system" would not overcome the teachings of Dua?
9 playback system,” not "a media particular playback 9 MR. KAPLAN: Object to form.
10 system," correct? 02:09:18 10 THE WITNESS: It depends how they conceive -- 02:13:07
11 A Correct. 11 or perceive the word "particular". If they were
12 Q Soifwe changed "a media particular playback 12 trying to make this broader than the formats that
13 system" back to "a media playback system," would a 13 Dua was listing, then maybe that was thcir strategy.
14 person of ordinary skill in the art understand what 14 So in their mind, they're trying to say it's
15 Claim 3 means? 02:09:35 15 broader. 02:13:26
16 A The problem is I was assuming your question 16 But, again, I don't -- I don't know why they
17 meant to remove all "particulars." But you're 17 used the word "particular".
18 saying just to remove the one? 18 BY MR. PAK:
19 I think J can agree that "media playback" is 19 Q What does it mean to play a particular media
20 more general than "media particular." 02:10:30 | 20 format? 02:13:43
21 Q Right. So you understand this claim -- you 21. A Toplay a particular media format? Tt means
22 understand Claim 3 if it didn't say "media 22 the system is instructed to start playing that
23 particular playback system" and instead it said 23 format, that content in that format.
24 "media playback system," correct? 24 Q So does Dua disclose a system that's
25 A _ I would understand it better, yes. 02:11:01 25 instructed to start playing a particular media 02:14:17
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1 Q Do you think the applicant amended “media 1 format?
2 playback system" to "media particular playback 2 A Hedoes. And he lists examples of those
3 system" to overcome the cited references? 3 formats.
4 A Jdon't know how to answer that. You'd have 4 Q What does it mean to play a particular type
5 to ask the applicant. 02:11:25 5 of media? 02:14:35
6 Q Well, we talked about the Dua reference, 6 A Isn't that the same answer -- or the same
7 right? 7 question? I'm not sure -- as opposed to the format
8 A Yes. 8 you mean?
9 Q And the Dua reference disclosed a media 9 Q Yeah. So, you know, there's -- you can play
10 player that can play particular media formats, 02:11:33 10 a particular type of media format, right, and that 02:14:55
11 right? 11 would be like an MP3 or 4 and the like, correct?
12. A_ Right. 12 But you can also play a particular type of media,
13. Q And we talked -- 13. which could be video or audio, text and the like,
14 A But there are many ways to respond to it. So 14 correct? Do you follow?
15 I don't know if that was the only reason, is what 02:11:51 15 A Yes. 02:15:13
16 I'm trying to say. I can't put myself in their 16 MR. KAPLAN: Object to form.
17 shoes. 17 BY MR. PAK:
18 Q Right. But you understand that Dua discloses 18 Q Okay. So in that context, does Dua disclose
19 a media player that can play different kinds of 19 a system that can play a particular type of media?
20 media formats and different types of media, right? 02:12:08 20 A_ He discloses several types of media, 02:15:40
21 A Yes. 21 pictures, images, PowerPoint presentations, audio,
22 Q So why do you think the applicant amended 22 video. Yes.
23 "media playback system" to be a particular system -- 23. Q So when the applicant amended "media playback
24 “a media particular playback system" if Dua already 24 system" to "media particular playback system,” would
25 teaches a media player that can play different kinds 02:12:28 25 you agree with me that amending "media playback 02:16:11
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| system" to "media particular playback system" would I Q Right.
2 not overcome the teachings of Dua? 2 A Paragraph 3?
3 MR. KAPLAN: Objection. Asked and answered. 3. Q Yeah. And looking at Claim 3, you're not
4 THE WITNESS: I mean, that's a tough call. 4 entirely sure why the applicant amended "media
5 That's why we have examiners, right? Idon'tknow 02:16:31 5 playback system" to "media particular playback 02:19:12
6 if I can make that call. 6 system,” correct?
7 BY MR. PAK: 7 A I'm not sure, no.
8 Q Well, are there any other reasons why the 8 Q But you do understand that Dua discloses a
9 applicant would amend "media playback system" to 9 media particular playback system, correct?
10 "media particular playback system"? 02:16:53 10 A Correct. But I guess the question is,is 02:19:29
11. A Other than trying to respond to the cxaminer 11 that the only way to respond to that rejection?
12 or -- as I said, you know, that would be one reason. 12 Without being the applicant and knowing more, I
13 Or they thought they had made an error and they're 13 couldn't answer that.
14 trying to correct it. Those are the two main 14 But it was a response presumably to address
15 reasons in my head. 02:17:10 15 the concern. That doesn't make it the correct 02:19:42
16 Q Okay. So take a look at PDF page 15 again, 16 response. It's a response.
17 “Summary of the Office Action". 17. Q Right. And the only other reason why an
18 A Yes. 18 applicant would amend its claims, other than
19 Q Inthe “Summary of the Office Action,” it 19 responding to an examiner, would be to correct an
20 talks about 103 rejections, correct? 02:17:34 20 informality, such as a typographical error, correct? 02:19:59
21 A Yes. 21 MR. KAPLAN: Object to form.
22 Q Do you see any other rejections? 22 Mischaracterizes. Leading.
23. A I'm sorry, can you remind me what the 103 23 Go ahead.
24 rejection is? 24 THE WITNESS: Those are two reasons I have
25 Q Yeah. So 103 rejection is an obviousness —_—- 02:17:48 25 off the top of my head. I mean, there could be 02:20:12
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1 type rejection. 1 other reasons that I'm not -- I don't think those
2 There's also 102 type rejections, which could 2 are the only two reasons to list.
3 be anticipation -- anticipatory type rejections, 3 BY MR. PAK:
4 right? 4 Q Sitting here today, can you think of any
5 And then you also have 112 rejections, which 02:18:02 5 other reasons why an applicant would amend its 02:20:24
6 might have to do with, you know, formality of the 6 claims other than those two reasons?
7 claims or, you know, maybe the patent lacks written 7 <A Idon't know. The marketing department
8 description of enablement and the like. Or it might 8 decided that it would be important to have certain
9 be indefinite, right? 9 words in the patent?
10 A Right. Okay. 02:18:18 10 I'm thinking -- I'm trying to think of other 02:20:41
11 Q Allright. So with that understanding here, 11 reasons. There could be a lot of other reasons. It
12 do you see in the Summary of the Office Action there 12 depends. They become a public record, obviously, so
13 are only 103 rejections, right? 13 that could be another reason,
14. A Right. 14. Q Why do you think the applicant would amend
15 Q And you don't see any 112 rejections, 02:18:28 15 "media playback system" to "media particular 02:20:59
16 correct? 16 playback system" if amending "media playback system"
17. A Correct. 17 to "media particular playback system" would render
18 Q So the -- so the applicant here was 18 the claim indefinite, in your opinion?
19 responding to the examiner's 103 rejections in the 19 A Well, I don't think they asked me my opinion,
20 non-final office action of July 25, 2016, correct? 02:18:44 20 so how would they know that this would become an (02:21:22
21 MR. KAPLAN: Object to form. 21 issue?
22 THE WITNESS: Yes. I presume that's what -- 22 At the time, I'm sure it made sense to them
23 the response that was written by the applicant, 23 for some reason that we don't know, that I don't
24 right? 24 know.
25 BY MR. PAK: 02:18:56 25 Q That's fair. 02:21:31
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1 Now, I want to go back to the '206 patent 1 Q What are the example zones disclosed in
2 now. It's Exhibit 10. And I want to take a look at 2 column 8?
3 column 8. 3 A Bathroom, bedroom, den, dining room, family
4 A Okay. 4 room and foyer.
5 Q Okay. And you don't have to read this out . 02:22:11 5 Q Okay. And looking at column 8, line 29, 02:25:45
6 loud, but could you please review lines 7 6 could you please read that -- read the first three
7 through 36. 7 sentences.
8 A 7 through 36? 8 A Okay.
9 Q Yeah. And then we can discuss. 9 "For instance, a Morning zone
10 And just let us know when you're finished. 02:22:35 10 scene/configuration command would link 02:26:0
11 A Okay. 11 the bedroom, den and dining room
12 Q Okay. Docs the '206 patent disclose two 12 together in one action, Without this
13 mechanisms for grouping zone players? 13 single command, the user would need to
14 MR. KAPLAN: Object to the form. 14 manually and individually link each
15 THE WITNESS: I'm trying to see where it 02:23:34 15 zone. Figure 3A provides an 02:26:21
16 says another mechanism. I see what it says, but it 16 illustration of one zone scene where
17 starts -- the line starts with "One mechanism for 17 the left column shows the starting
18 joining zone players." 18 zone grouping. All zones are
19 BY MR. PAK: 19 separate. The column on the right
20 Q Sure. And what is that one mechanism? 02:23:46 20 shows the effects of grouping the 02:26:35
21 A It says: 21 zones to make a group of three zones
22 "To link a number of zone players 22 named after Morning."
23 together to form a group.” 23. Q Okay. So I want to take a look at Figure 3A
24 Q And what does the '206 patent say that one 24 now. It's on PDF page 8.
25 mechanism entails to link a number of zone players — 02:24:07 25 A Yes. 02:27:06
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1 together to form a group? 1 Q Soon the left side of the arrow, you know, I
2 <A _ So they -- one second. 2 see bathroom, bedroom, den, dining room, family room
3 "The user may manually link each 3 and foyer, right?
4 zone player or room one after the 4 A Yes.
5 other," sequentially presumably. 02:24:24 5 Q What do -- what does the left side of the 02:27:17
6 Q So that's the -- that's the one mechanism 6 arrow represent, or those rooms represent?
7 disclosed in the '206 patent, right? 7 A Based on what we just read, they call them
8 <A Yeah. 8 zones.
9 MR. KAPLAN: Object to form. 9 Q And the right side of the arrow -- well, what
10 BY MR. PAK: 02:24:37 10 does -- what does the right side of the arrow 02:27:42
11 Q Is there another mechanism for linking a 11 indicate in Figure 3A?
12 number of zone players together to form a group? 12 MR. KAPLAN: Object to form.
13. A I guess you must be referring fo line 23 13 THE WITNESS: It's the same -- the same
14 perhaps: 14 zones, but the -- but three of them have been put in
15 "According to one embodiment, a 02:24:57 | 15 a-- some kind of group. And that group is -- has 02:27:54
16 set of zones can be dynamicaily linked 16 the bracket that indicates that it's called Zone
17 together using one command.” 17 Configuration/Scene.
18 Is that the other mechanism that you're 18 BY MR. PAK:
19 referring to? 19 Q Whatare -- what arc the three zones that are
20 Q Yes. 02:25:16 20 put into some kind of group? 02:28:22
21 A Okay. 21. A Bedroom, den and dining room.
22 Q So the '206 patent discloses example zones, 22 Q Do you know what the name of that -- what the
23 correct? 23 patent describes as -- let me start over.
24 A Right. They have a list of what they call 24 What does the patent call this group that
25 zones and then some names, yeah. ~ 02:25:30 | 25 includes the three zones, bedroom, den and dining —_- 02:28:49
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1 room? 1 Q So with respect to Figure 3A, you know, the
2  A_ Sorry, what was that column? Was it 2 group of three zones named after Morning, that's
3 column 8? 3 referring to the Morning zone scene, correct?
4 Q Yes, column 8. 4 MR. KAPLAN: Object to form. Asked and
5 A And it says "to make a group of three zones 02:29:03 5 answered. 02:31:52
6 named after Morning.” A little odd that the word 6 THE WITNESS: Well, but it has -- in line 29
7 “after" is there, but okay. 7 it says “Morning zone scene/configuration," and then
8 Q Yeah, go -- look at the sentence before. You 8 in Figure 3A it says "zone configuration/scene,” the
9 know, it says: 9 other way around.
10 "Figure 3A provides an 02:29:32 10 So I couldn't tell from this for sure without 02:32:13
11 illustration of one zone scene where 11 looking further if that is the definition of zone
12 the left column shows the starting 12 scene or not. It has additional stuff.
13 zone grouping. All zones are 13 BY MR. PAK:
14 separate. The column to the right 14 Q Right. But your understanding of a zone
15 shows the effect of grouping the zones 02:29:45 15 scene is that it's some kind of representation of a 02:32:28
16 to make a group of three zones named 16 grouping that has some additional attributes, right?
17 after Morning." 17 A Yes, that's my best understanding. The
18 Right? 18 attributes having to do with what throughout the
19 A Right. 19 specification is called some kind of themes.
20 Q So looking at Figure 3A, the group of zones, 02:29:52 20 Q Why don't we take a look at column 10 of the 02:32:49
21 bedroom, den and dining room, that's an illustration 21 patent.
22 ofa zone scene, correct? 22. A Okay.
23 MR. KAPLAN: Object to form. 23. Q And I want to look at line 21 here. It says:
24 THE WITNESS: So I didn't provide an opinion 24 "Given a saved scene, a user may
25 on what a zone scene is. To define that here kind 02:30:26 25 activate the scene at any time or set 02:33:21
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1 of on the fly would be a little premature, or I'd ] up a timer to activate the scene at
2 have to look at it more. 2 610."
3 You know, reading through for the -- for the 3 Do you see that?
4 other opinions that I formed, I found that zone 4 A Isee it.
5 scene represents some kind of grouping, but ithas 02:30:43 S Q After the user activates the scene, what does 02:33:29
6 something additional, some kind of theme or 6 the '206 patent say happens next?
7 attributes that go beyond a simple grouping. 7 A So they say "scene" here, which is not clear
8 But, again, that's not a -- that's not an 8 if they mean zone scene in their own language.
9 official opinion yet. 9 That's my first thought.
10 BY MR. PAK: 02:30:59 10 But what -- you're saying what do they say 02:33:59).
11 Q Okay. So, you know, looking at column 8, you 11 in this sentence?
12 know, where we were before, and it says: 12 Q Yeah, so let's back up here.
13 "For instance, a Morning zone 13 And, you know, this is talking about with
14 scene/configuration command would link 14 respect to Figure 6, but at the -- you know, the
15 the bedroom, den and dining room 02:31:14 15 first paragraph of column 10, says: 02:34:14
16 together in one action." 16 "The process 600 is initiated
17 Do you see that? 17 only when a user decides to proceed
18 A Yes. 18 with a zone scene at 602."
19 Q And then, you know, as we discussed, it says: 19 Do you see that?
20 "The column to the right shows 02:31:24 20 A Yes. 02:34:26
21 the effects of grouping the zones to 21 Q So when it talks about a scene at step 610,
22 make a group of three zones named 22 it's talking about a zone scene, correct?
23 after Morning.” 23 MR. KAPLAN: Object to form.
24 Do you see that? 24 THE WITNESS: Probably, but why don't they
25 A Isee. 02:31:32 25 just write it to make it clear? It's not -- most 02:34:50
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| likely is my answer. 1 Q I think -- I think member -- so member here
2 BY MR. PAK: 2 is referring to devices or nodes on the network,
3. Q Okay. So at 610, you know, I read this 3 right?
4 before. It says: 4 A Okay.
5 "Given a saved scene, a user may 02:35:11 5 Q So you agree with me that after a user 02:37:36
6 activate the scene at any time or set 6 activates a zone scene, data is transported from a
7 up a timer to activate the scene at 7 member, for example, a controller or a player, to
8 610." 8 other members in the zone scene, right?
9 So what does the '206 patent say happens 9 A Yes.
10 next? 02:35:25 10 Q And what does that data that is transported 02:37:57
lt A. After this action has happened? {1 from a member to another member pertain to?
12. Q Yes. 12. A Well, in the example they provide, it says it
13. A_ It's the next couple of sentences, right? 13 pertains to a playlist and volumes. So we have to
14. Q So what does that say? 14 read it the way they say it, right?
15 A So line 24: 02:35:44 15 Q Yeah. So let's take a look at column 10, 02:38:23
16 “At 612, upon the activation of a 16 lines 12 through 20. It starts with "In the example
17 saved scene, the process 600 checks 17 of Figure 1."
18 the status of the players associated 18 Do you see that?
19 with the scene." 19 A Yes.
20 Q Okay. So what does -- what does the patent 02:35:56 20 Q Could you please read the first two 02:38:35
21 say happens at step 614? 21 sentences.
22, A 22 =A
23 “At 614, commands are executed 23 "In the example of Figure 1, the
24 with the parameters, e.g., pertaining 24 scene is saved in one of the zone
25 to a playlist and volumes." 02:36:11 25 players and displayed on controller 02:38:43
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1} Q And what is the next -- 1 142. In operation, a set of data
2 A Yeah, go ahead? 2 pertaining to the scene inchides a
3. Q Can you keep reading the next two sentences. 3 plurality of parameters. In one
4 A Yes. 4 embodiment, the parameters include,
5 "In one embodiment, data, 02:36:23 5 but may not be limited to, 02:38:56
6 including the parameters, is 6 identifiers, e.g., IP address, of the
7 transported from a member, e.g., a 7 associated players and a playlist.
8 controller, to other members in the 8 The parameter may also include
9 scene so that the players are caused 9 volume/tone settings for the
10 to synchronize an operation configured 02:36:34 | 10 associated players in the scene." 02:39:08
11 in the scene. The operation may cause 11 Q Okay. So returning to my question, after a
12 all players to play back a song in 12 user activated a zone scene, there is some data that
13 identical or different volumes or to 13 is transported from a member to another member in
14 play back a pre-stored file." 14 the scene, right?
15 Q So after a user activates a zone scene, data 02:36:51 | 15 MR. KAPLAN: Object to form. 02:39:27
16 is transported from a member to another member in 16 THE WITNESS: That's what this paragraph
17 the zone scene, right? 17 seems to describe, yes.
18 MR. KAPLAN: Object to form. 18 BY MR. PAK:
19 THE WITNESS: So what is a member here? 19 Q Right. And that data that's transported from
20 BY MR. PAK: 20 amembcr to another member is data pertaining toa 02:39:36
21 Q Soa member here -- you know, you just read 21 zone scene, correct?
22 it here. It says "transferred from a member, for 22 MR. KAPLAN: Object to form.
23 example, a controller." 23 THE WITNESS: Well, it's data -- it's a set
24 A member can also be a player, right? 24 of parameters that they want to apply to that zone
25 A Okay. 02:37:24 25 scene they're sending. 02:39:58
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| BY MR. PAK: 1 repeat that.
2 Q Right. So let me ask you this way. 2 So when you save a song on a computing
3 So when a scene is saved in one of the zone 3 device, you're saving a file that represents a song
4 players and displayed on a controller, right, there 4 in the computing device, correct?
5 is some form of data pertaining to that zone scene 02:40:12 5 <A No, I don't agree with that. 02:43:17
6 that gets saved in the zone player, right? 6 What is a song? That's an abstract -- the
7 MR. KAPLAN: Object to form. 7 song is the file. So it's not a representation.
8 THE WITNESS: This is not the data that we're 8 It's the song. That is the file that you're saving.
9 talking about here that's being sent to it. I'm not 9 Q So when someone says -- so when a user
10 sure I understand. 02:40:37 10 decides to save a song, what happens under the hood, 02:43:40
1] There's a scene that's been created. And 11 like, how docs the computing device save a song?
12 this to me says that from -- the uscr can decide 12. A_ The song --
13. from the controller to select that scene -- and I'm 13 MR. KAPLAN: Object to the form.
14 paraphrasing -- and send these parameters that we 14 THE WITNESS: Assuming the song is in digital
15 talked about to the zone players in that scene. 02:40:53 15 form, the computing device saves the song file which 02:44:02
16 BY MR. PAK: 16 contains a sequence of bits that, when played back,
17 Q Okay. So let's look -- let's relook at 17 are the song.
18 column 10, lines 12 to 15, It says: 18 BY MR. PAK:
19 "In the example of Figure 1, the 19 Q Yeah, so let me ask you it this way then.
20 scene is saved in one of the zone 02:41:08 20 When a user tries to save a song from a 02:44:27
21 players and displayed on controller 21 computer from an Ethernet interface, right, if --
22 142. In operation, a set of data 22. the user inputs a command to save the song, right?
23 pertaining to the scene includes a 23, A Yes,
24 plurality of parameters." 24 Q And the computing device receives that
25 Do you see that? 02:41:18 25 command to save a song, correct? 02:44:57
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1 A Yes. | A Yes.
2 Q Now, when you save a zone scene in one of the 2 Q How does the computing device or, you know --
3 zone players, you're really saving data pertaining 3 starting over here.
4 to the zone scene in one of the zone players, 4 What action does the computing device do to
5 correct? 02:41:29 5 actually save a song in the computing device? 02:45:14
6 MR. KAPLAN: Object to form. 6 MR. KAPLAN: Object to form.
7 THE WITNESS: I don't know. I don't know 7 THE WITNESS: Assuming the saving location
8 what they're saving. 8 has -- the saving location has been determined,
9 BY MR. PAK: 9 which is the intermediate step, the computing device
10 Q Well, the zone player has to save some form 02:41:44 10 will start at the first bit and start writing itto 02:45:31
11 of data that represents the zone scene, right, if 11 that location until it's finished. In memory or on
{2 it's going to save a zone scene? 12. the hard drive somewhere.
13 MR. KAPLAN: Object to form. 13 BY MR. PAK:
14 THE WITNESS: I guess what I'm trying to 14 Q So the computing device saves a song in the
15 figure out there is, isn't the zone scene the data 02:42:07 15 hard drive or memory, you know, in the form ofa 02:45:57
16 itself? 16 file, right?
17 BY MR. PAK: 17. A_ I don't know -- the song is a file. It
18 Q Well, let me ask -- let me ask you this way. 18 sounds like you're saying the song is something else
19 When you want to save a song on your 19 and then it gets converted to a file, and that's
20 computer, some form of data is saved on that 02:42:27 20 just not the case. 02:46:17
21 computer, right, that represents the song? 21 The song is the file. Without that, there's
22 A Well, it’s the audio file that is the song. 22 no song.
23 Q Right. So when you -- when you save a song 23. Q Well, let me ask you this way.
24 on a computer, you're saving a -- you're saving a 24 From a user perspective, right, a user would
25 file that represents a song and -- let me just 02:42:49 25 say that he or she plays a song, right? He or she 02:46:59
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wouldn't say that he or she plays a file, right, or

1 Q Okay. And during the break I uploaded the

2 plays data? 2 '033 patent and marked it as Exhibit 14.
3. A Well, that's the vernacular as opposed to the 3 (Exhibit 14 was marked for identification
4 actual technical. I could point you to a number of 4 electronically and is attached hereto.)
5 users in my department that would say they're 02:47:27 5 BY MR. PAK: 03:03:09
6 playing a data file. 6 Q Do you see that?
7 So, I mean, I don't think that's -- I mean, 7 A’ Just checking here.
8 maybe a user would say that, but it doesn't make it 8 Yes.
9 technically correct. 9 Q And you looked at the '033 patent, correct?
10 Q Allright. Let's talk about this in the 02:47:49 10 A Yes, I did. 03:03:26
11 context of Microsoft Word then. 11 Q Twant to take a look at Claim 1 on PDF
12 When you save a Microsoft Word document, 12 page 28.
13. right, what format docs your computing device save a 13 Could you please read the transmitting an
14 Microsoft Word document? 14 instruction limitation that you mentioned in
IS A_ It is again a sequence of bits that -- the 02:48:13 15 paragraph 74 of your declaration. 03:03:50
16 format is not open to us. It's a Microsoft internal 16 A If'mstill scrolling.
17 format. So I couldn't tell you what the file looks 17 Q It's the second to the last page.
18 like. You can only reopen it by using their user 18 A Yes. You want me to read the part that has
19 interface. 19 the transmitting the instruction?
20 Q When you save a Microsoft Word document, 02:48:39 20. Q Yeah. How about -- how about you read the 03:04:13
21 you're saving some form of data, right? 21 transmitting an instruction limitation, you know,
22 A I mean, that's -- everything on your computer 22 all the way -- all the way before the "wherein"
23 is data, so yes. 23 clause.
24 Q And that data that is saved represents the 24 A Okay. So line 53?
25 Microsoft Word document, right? 02:49:12 25 Q Yeah, correct.
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1 A I think it's the same thing. As I said 1 A
2 before, it doesn't represent it, it is the Microsoft 2 "Based on receiving the user
3 Word document. It's not like you have another 3 input, transmitting an instruction for
4 representation. It's the -- it's the only one, and 4 at least one given playback device to
5 it is the document. 02:49:30 5 take over responsibility for playback 03:04:35
6 MR. PAK: Why don't we take a break now. I 6 of the remote playback queue from the
7 think we've been going on for a while. I don't have 7 computing device."
8 awhole lot left here. I know it's Friday. I don't 8 Q Okay. Let's take a look at Claim 2,
9 want to keep you here too long. 9 column 18. Could you please read Claim 2.
10 THE VIDEOGRAPHER: Off the record at 02:50:06 10 A 03:04:47
11 2:50 p.m. il "The computing device of Claim 1
12 (Recess.) 12 wherein the instruction comprises an
13 THE VIDEOGRAPHER: We are on record at 13 instruction for the cloud-based
14 3:02 p.m. 14 computing system associated with the
15 BY MR. PAK: 03:02:27 [5 media" -- 03:04:58
16 Q I want to take a look at paragraph 74 of your 16 Sorry. Let me start over.
17 declaration. 17 "The computing device of Claim 1,
18 A Yes. 18 wherein the instruction comprises an
19 Q Would you please read the first sentence. 19 instruction for the cloud-based
20 A 03:02:48 20 computing system associated with the 03:05:10
21 "Claims 1 and 12 of the '033 21 media service to provide the data
22 patent recite transmitting an 22 identifying the next one or more" --
23 instruction, and Claims 2 and 3 recite 23 "the next one or more media ifems to
24 wherein the instruction comprises an 24 the given playback device for use in
25 instruction." 03:02:56 25 retrieving at least one media item 03:05:22
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i from the cloud-based computing system i So in that sentence, you understand that
2 associated with the cloud-based media 2 wherein -- the term "wherein the instruction"
3 service." 3 recited in Claim 2 refers to transmitting an
4 Q That's a pretty long claim, right? 4 instruction term in Claim 1, right?
5 So the instruction recited in Claim 2 is 03:05:38 5 A Yes. Lagree with that. 03:09:31
6 referring to the instruction for at least one given 6 Q Okay. So the instruction recited in Claim 2
7 playback device to take over responsibility for 7 is not referring to program instructions recited in
8 playback of the remote playback queue from the 8 Claim 1, correct?
9 computing device recited in Claim 1, correct? 9 MR. KAPLAN: Object to form.
10 A Yes. 03:06:14 10 THE WITNESS: I guess that's what I was 03:09:45
11. Q In other words, the instruction recited in 11 trying to say before. It's referring to the -- to
12 Claim 2 is not referring to the program instructions 12 the instruction that we read in that clause of the
13 stored on the non-transitory computer readable media 13 claim. But it's still a program instruction.
14 as recited in Claim 1, correct? 14 That's all I was trying to say.
15 MR. KAPLAN: Object to form. 03:06:43 | 15 MR. PAK: Okay. I have no further questions. 03:10:02
16 THE WITNESS: I guess it's not clear what is 16 I appreciate your time, Dr. K.
17 the difference between the program instructions. 17 Thanks for your time as well, Marc.
18 Aren't they all instructions? I'm trying to 18 MR. KAPLAN: Sure. I'm just thinking for a
19 understand the reference here. 19 moment.
20 BY MR. PAK: 03:07:12 20 We'll reserve signature. And no questions 03:10:18
21 Q Does the instruction recited in Claim 2 refer 21 for me.
22 to an instruction for the at least one given 22 THE VIDEOGRAPHER: We are off the record at
23 playback device to take responsibility for playback 23 3:10 p.m. This concludes today's testimony given by
24 on the remote playback queue from the computing 24 Dr. Chris Kyriakakis. Total media used was five and
25 device in Claim |, or does it refer to the program 03:07:35 25 will be retained by Veritext Legal Solutions. 03:10:38
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1 instructions recited in Claim 1? 1
2 A Well, that's the thing. They're all program 2 I, CHRISTOS KYRIAKAKIS, do hereby declare
3 instructions, right? So this instruction, 3 under penalty of perjury that T have read the
4 whichever -- whatever it's referring to, is a 4 foregoing transcript; that I have made any
5 program instruction, right? So I don't see the 03:07:56 5 corrections as appear noted, in ink, initialed by
. . 6 me, or attached hereto; that my testimony as
6 difference necessarily. . . .
. : . : 7 contained herein, as corrected, is true and correct.
7 Q Well, Ciaim 1 recites an instruction for 8 EXECUTED this day of
8 the at least one given playback device to take over 9 20 at .
9 responsibility for playback of the remote playback (City) (State)
10 queue from the computing device, right? 03:08:16) 19
11 A Right. But at the beginning of Claim 2 is 11
12 program instructions, when executed by at least one 12
13 processor, cause the computing device to perform 13
14 functions comprising -- and then a whole bunch of CHRISTOS KYRIAKAKIS
15 functions -- and then this instruction clause. So 03:08:35] 14
16 it's -- Is
17° Q Well, let's look at paragraph 74 again in 16
18 your declaration. 7
19 A Yes. i
20 Q And you say that "Claim 1" -- I'm sorry: 03:08:49 20
21 "Claims J and 12 of the '033 21
22 patent recite transmitting an 22
23 instruction, and Claims 2 and 13 23
24 recite wherein the instruction 24
25 comprises an instruction." 03:09:04 25
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I, the undersigned, a Certified Shorthand
Reporter of the State of California, do hereby
certify:

That the foregoing proceedings were taken
before me at the time and place herein set forth;
that any witnesses in the foregoing proceedings,
prior to testifying, were placed under oath; that a
record of the proceedings was made by me using
machine shorthand which was thereafter transcribed
under my direction; further, that the foregoing is
an accurate transcription thereof.

I further certify that I am neither
financially interested in the action nor a relative
or employee of any attorney of any of the parties.

IN WITNESS WHEREOF, I have this date
subscribed my name.

Dated: June 14, 2021

Be ote
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KALHLEEIN bE. BAKINEY
CSR No. 5698

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Federal Rules of Civil Procedure

Rule 30

(e) Review By the Witness; Changes.

(1) Review; Statement of Changes. On request by the
deponent or a party before the deposition is
completed, the deponent must be allowed 30 days
after being notified by the officer that the
transcript or recording is available in which:

(A) to review the transcript or recording; and

(B) if there are changes in form or substance, to
sign a statement listing the changes and the
reasons for making them.

(2) Changes Indicated in the Officer's Certificate.
The officer must note in the certificate prescribed
by Rule 30(f) (1) whether a review was requested
and, if so, must attach any changes the deponent

makes during the 30-day period.

DISCLAIMER: THE FOREGOING FEDERAL PROCEDURE RULES
ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

2019. PLEASE REFER TO THE APPLICABLE FEDERAL RULES

OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.

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